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               15                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                          SAN JOSE DIVISION
               16
                       NATIONAL URBAN LEAGUE; LEAGUE OF                CASE NO. 20-cv-5799-LHK
               17      WOMEN VOTERS; BLACK ALLIANCE FOR
                       JUST IMMIGRATION; HARRIS COUNTY,                SECOND AMENDED COMPLAINT
               18
                       TEXAS; KING COUNTY, WASHINGTON;                 FOR DECLARATORY AND
               19      CITY OF LOS ANGELES, CALIFORNIA;                INJUNCTIVE RELIEF
                       CITY OF SALINAS, CALIFORNIA; CITY OF
               20      SAN JOSE, CALIFORNIA; RODNEY ELLIS;
                       ADRIAN GARCIA; THE NATIONAL
               21      ASSOCIATION FOR THE ADVANCEMENT
                       OF COLORED PEOPLE; CITY OF CHICAGO,
               22
                       ILLINOIS; COUNTY OF LOS ANGELES,
               23      CALIFORNIA; NAVAJO NATION; and GILA
                       RIVER INDIAN COMMUNITY,
               24                                      Plaintiffs,
                                       v.
               25      WILBUR L. ROSS, JR., in his official capacity
               26      as Secretary of Commerce; U.S. DEPARTMENT
                       OF COMMERCE; STEVEN DILLINGHAM, in
               27      his official capacity as Director of the U.S.
                       Census Bureau; and U.S. CENSUS BUREAU,
               28                                      Defendants.
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                   1                                 INTRODUCTION AND SUMMARY

                   2          1.      This lawsuit challenges the unconstitutional and illegal decision by Secretary of

                   3   Commerce Wilbur Ross and Census Bureau (the “Bureau”) Director Steven Dillingham, to

                   4   sacrifice the accuracy of the 2020 Census by forcing the Bureau to compress eight and a half

                   5   months of vital data collection and data processing into four and a half months, against the

                   6   judgment of the Bureau’s staff and in the midst of a once-in-a-century pandemic.

                   7          2.      This Second Amended Complaint concerns two related periods of time: (1)

                   8   Defendants’ announcement and initial implementation of the census “Replan” (which acceded to

                   9   improper political pressure and abandoned a decade of planning and analysis on how to conduct

               10      a fair, complete, and accurate census), and (2) the last two months of litigation in this case,

               11      (where Defendants’ conduct and ever-changing rationales, and Defendants’ new, misleading

               12      reliance on its alleged “99% completion” rate, demonstrate that Defendants have violated the

               13      federal government’s constitutional and statutory obligations to secure a fair, complete, and

               14      accurate census).

               15             3.      Plaintiffs’ initial complaint focused on the Replan decision, announcement, and

               16      initial implementation. Plaintiffs file this Second Amended Complaint, pursuant to Court order

               17      and agreement between the parties, to show why recent developments require expedited

               18      resolution on the merits and a final judgment of permanent injunctive and declaratory relief. In

               19      short, Defendants have maintained their Replan scheme to cut in half the amount of time for

               20      conducting the decennial census. Only expedited permanent relief from this Court can ensure a

               21      fair, accurate, and complete 2020 Census.

               22             4.      The Defendants’ attempt to rush the census count poses a grave threat to the vital

               23      functions that rely on census data, from reapportioning the United States House of

               24      Representatives and redrawing state and local electoral districts, to equitably distributing over

               25      $1.5 trillion annually in federal funds that support basic needs such as food, health care, and

               26      education. See George Washington University Institute of Public Policy, Counting for Dollars

               27      2020: The Role of the Decennial Census in the Geographic Distribution of Federal Funds, Brief

               28      7: Comprehensive Accounting of Census-Guided Federal Spending (April 2020). Undercounted
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                   1   cities, counties, and municipalities will lose representation in Congress and tens of millions of

                   2   dollars in funding. And communities of color, threatened with a massive undercount, will lose

                   3   core political power and vital services. In contrast to these dire stakes, the immediate solution to

                   4   this problem is simple: set aside and permanently enjoin implementation of the impossibly-

                   5   shortened Replan, and allow the Census Bureau to implement the rest of the plan that it had

                   6   designed to fulfill its constitutional duties during the pandemic.

                   7          (A) The Replan violated Defendants’ constitutional and statutory obligations to make
                              decisions that are reasonably related to achieving a fair and accurate count
                   8

                   9          5.      The Census Bureau’s staff spent most of the past decade developing a final

               10      operational plan for the 2020 Census that reflected the Bureau’s understanding of the best

               11      methods for counting everyone once and in the right place (the “Final Operational Plan”).

               12             6.      The COVID-19 pandemic upended all census field operations, many of which the

               13      Bureau designed to enumerate populations that it has long struggled to count, including racial

               14      and ethnic minorities, non-English speakers, and undocumented persons. Among the disrupted

               15      census operations was the largest, most time-consuming operation undertaken to count the

               16      country’s hard-to-count communities—the “Non-Response Follow Up” operation. During Non-

               17      Response Follow Up, the Bureau sends its employees to knock on the doors of households that

               18      have not yet responded to the census and perform other vital data-collecting functions.

               19             7.      The Bureau’s staff responded to the pandemic—and the impossibility of

               20      conducting house visits during widespread lockdowns—by making necessary adjustments to the

               21      timeline in the Final Operational Plan. This revised operational plan, the “COVID-19 Plan”

               22      issued on April 13, 2020, was intended to ensure that hard-to-count communities would be

               23      enumerated and the health and safety of Bureau employees and the public would be protected.

               24      This plan adjusted the deadlines of, but did not shorten the time for, critical operations. Under

               25      this plan—which experts and census stakeholders alike endorsed as a scientifically sound

               26      approach for minimizing the pandemic’s potential damage to the accuracy of the count—the

               27      Bureau extended its data-collection deadlines to October 31, 2020 and its data-processing

               28      deadlines into the second quarter of 2021. Critically, the COVID-19 Plan delayed door-
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                   1   knocking by three months, pushing it from May–July 2020 to August–October 2020. But the

                   2   COVID-19 Plan acknowledged that the Bureau must spend the same amount of time—around

                   3   eleven and a half weeks—on door-knocking, just as it had planned to do before the pandemic.

                   4   The COVID-19 Plan also incorporated the same methods and techniques contemplated in the

                   5   Final Operational Plan that the Bureau had spent years developing.

                   6          8.      Indeed, the only respect in which the COVID-19 Plan altered the amount of time

                   7   devoted to operations set out in the Final Operational Plan was a requirement that the Bureau

                   8   spend more time than originally planned in processing the data it collected—that is, performing

                   9   the necessary, critical second part of its work, to transform over 100 million individual census

               10      forms into high-quality, reliable, and legitimate data. This additional investment in data-

               11      processing reflected daunting new challenges the COVID-19 pandemic posed to an accurate

               12      count, including massive displacements of people that would introduce problems of duplicate

               13      responses, responses without unique census identifiers, and other complex data issues.

               14             9.      The Department of Commerce and the Census Bureau also recognized that the

               15      impact of COVID-19 had made it impossible to meet certain statutory deadlines for reporting

               16      census results to Congress. Commerce Secretary Wilbur Ross and Census Bureau Director

               17      Steven Dillingham announced that the Bureau was seeking relief from Congress to formally

               18      extend two statutory deadlines: first, the deadline for reporting the state-population totals used to

               19      calculate the congressional apportionment to the President, which Congress was asked to extend

               20      from December 31, 2020 to April 30, 2021; and, second, the deadline for reporting redistricting

               21      data to the states, which Congress was asked to extend from March 31, 2021, to July 31, 2021.

               22      Commenting on the statutory-deadline extensions, President Trump publicly stated on April 13,

               23      2020, “I don’t know that you even have to ask [Congress]. This is called an act of God. This is

               24      called a situation that has to be. They have to give in. I think 120 days isn’t nearly enough.”

               25      Hansi Lo Wang, Trump Officials Ask to Delay Census Data for Voting Districts, House Seats,

               26      NPR (Apr. 13, 2020), https://www.npr.org/2020/04/13/833546675/trump-officials-ask-to-delay-

               27      census-data-for-voting-districts-house-seats.

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                   1           10.    Recognizing that more time was necessary to complete an accurate census, and

                   2   consistent with the President’s statement, the Bureau proceeded immediately under its COVID-

                   3   19 Plan. The Bureau delayed its door-knocking operation to late summer, with the declared

                   4   intention of completing it by October 31, 2020. And understanding that a successful census is

                   5   dependent on thousands of public and private entities and individuals working together, the

                   6   Bureau publicized its definitive COVID-19 plan to the public, as well as to government and non-

                   7   profit partners involved in the years-long and multi-million-dollar public education campaign to

                   8   ensure public trust and encourage public participation in the census.

                   9           11.    No one challenged the Bureau’s COVID-19 Plan or its extended timelines. All

               10      understood that a more than three-month freeze caused by a global pandemic meant, by

               11      definition, that a like amount of time (or more) was needed to knock on tens of millions of doors

               12      and count everyone, once and in the right place.

               13              12.    And the Bureau was vocal about the need for additional time. Throughout the

               14      summer, Bureau officials repeatedly stated that the pandemic had rendered it impossible for the

               15      Bureau to complete a reasonably accurate count by December 31, 2020. Internally, everyone at

               16      the Bureau stated and acted upon the same. To comply with its constitutional and statutory

               17      obligations to conduct a fair, complete and accurate census, the Bureau continued collecting data

               18      on the timelines set in the COVID-19 Plan, which extended the Bureau’s data processing into

               19      2021.

               20              13.    But on August 3, everything suddenly changed. Nearly four months into

               21      implementing its COVID-19 Plan—in the face of a pandemic that had only grown worse, and in

               22      disregard of the Bureau’s constitutional and statutory duties to conduct an actual enumeration of

               23      the entire population—Secretary Ross and Director Dillingham abruptly abandoned the COVID-

               24      19 Plan. Without explanation, they announced a new “Replan” for the 2020 Census, including

               25      shortening the Bureau’s data-collection operation by one month to September 30, 2020, and

               26      requiring the Bureau to process and report the apportionment data to President Trump by

               27      December 31, 2020. The Replan cut a crucial four weeks out from the 11.5 week data-collection

               28      operation: over a third of the time required for and planned for that work. It cut three months
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                   1   from the critical data-processing portion of the census— half the amount of time required for and

                   2   planned for that work. And it disregarded the Bureau’s own prior conclusions that such a mad

                   3   rush would render it impossible for the Bureau to fulfil its constitutional obligation to ensure

                   4   reasonable quality and accuracy of the 2020 Census.

                   5           14.     In short, the Replan required the Bureau to complete eight and a half months of

                   6   data collection and data processing in half the time. It ignored the multi-month delay in census

                   7   data-collection that the COVID-19 pandemic caused. And it compelled a final date for

                   8   delivering census apportionment data to the President that Bureau officials have repeatedly

                   9   asserted they cannot meet with constitutional, fit-for-purpose data.

               10              15.     Defendants’ decision to abandon the COVID-19 Plan in favor of the Replan does

               11      not satisfy the Supreme Court’s clear command that any decision relating to the census bear a

               12      “reasonable relationship” to producing an accurate count. See Wisconsin v. City of N.Y., 517

               13      U.S. 1, 20 (1996). As demonstrated by Defendants’ own prior statements, the challenged

               14      decision cannot be justified by any legitimate interest in conducting an accurate census, and in

               15      fact will introduce several inaccuracies in the count, chief among them major undercounts of

               16      communities of color.

               17              16.     The reason for this abrupt change of position was not apparent on the face of the

               18      press release announcing the Replan or any other subsequently issued statements or publications

               19      from the federal government. The Bureau has refused requests from Congress and at least one

               20      Plaintiff in this action to provide one.

               21              17.     The announcement of the Replan did reference two developments that occurred

               22      between the adoption of the COVID-19 Plan and the announcement of the Bureau’s intent to

               23      adopt the Replan. But neither of these developments can justify Defendants’ actions.

               24              18.     First, the announcement referred to the Secretary of Commerce’s direction to the

               25      Bureau to comply with the statutory deadline of December 31, 2020 for completing the

               26      apportionment count. But this statutory deadline cannot justify an unconstitutional decision to

               27      cut short crucial operations and fail to satisfy its constitutional obligation. A statutory deadline,

               28      particularly one that was set without a global pandemic in mind, cannot override the federal
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                   1   government’s constitutional duty to accomplish an accurate census; there is “nothing sacred in

                   2   the due date of the filing [of apportionment data], especially when the work of the Census

                   3   Bureau... is incomplete.” Carey v. Klutznick, 637 F. 2d 834, 837 (2d Cir. 1980). Moreover, the

                   4   Bureau was cognizant of this deadline even as it designed and implemented the COVID-19 Plan,

                   5   including delaying crucial field operations by several months. And Bureau officials have

                   6   repeatedly made clear that because of the impediments introduced by COVID-19, together with

                   7   the multi-month delay, it is already too late to satisfy these pre-COVID-19 deadlines.

                   8          19.     Second, both the text of the Replan announcement and the timing of the decision

                   9   suggested that the federal government’s motivation for the Replan is to facilitate another illegal

               10      act: suppressing the political power of communities of color by excluding undocumented people

               11      from the final apportionment count. On July 21, 2020—just a few weeks earlier—President

               12      Trump issued a Presidential Order titled “Memorandum Excluding Illegal Aliens From the

               13      Apportionment Base Following the 2020 Census” (the “Apportionment Exclusion Order”)—

               14      which expressly stated the President’s determination to exclude undocumented people from the

               15      population count used for apportionment. To increase the chance that the President can fully

               16      effectuate the Apportionment Exclusion Order, he must receive the population totals while he is

               17      still in office, and he ordered the Secretary of Commerce to provide him with 2020 decennial

               18      census information by December 31, 2020 to carry out his objective.

               19             20.     The President’s Apportionment Exclusion Order (currently being challenged as

               20      unconstitutional and unlawful in a number of lawsuits filed in jurisdictions around the country,

               21      including in this District) represents only the most recent of Defendants’ serial attempts to

               22      manipulate the 2020 Census to suppress the political power of communities of color. These

               23      attempts started with a campaign to introduce a historically unprecedented and untested

               24      citizenship question onto the 2020 Census questionnaire to advantage—in the words of a

               25      deceased Republican redistricting consultant—“Republicans and non-Hispanic whites.” Michael

               26      Wines, Deceased G.O.P. Strategist’s Hard Drives Reveal New Details on the Census Citizenship

               27      Question, N.Y. Times (May 30, 2019), https://www.nytimes.com/2019/05/30/us/census-

               28      citizenship-question-hofeller.html. Since the Supreme Court blocked the question, Defendants
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                   1   have looked for other means to achieve that same end, including collecting data on citizenship

                   2   from administrative records and, now, cutting the census short.

                   3          (B) Defendants’ conduct since the Replan announcement and throughout this
                              litigation, and the effects of the Replan on census data collection, demonstrate the
                   4          need for expedited resolution of the merits of Plaintiffs’ claims
                   5          21.     Developments since the initial complaint was filed in this case have shown that

                   6   Plaintiffs’ concerns in bringing this lawsuit were more than justified.

                   7          22.     For context, it is important to see how exactly Defendants were characterizing

                   8   these issues around the time Plaintiffs’ initial complaint was filed. On August 14, 2020,

                   9   Secretary Ross wrote an op-ed aimed at bolstering confidence in the Replan:

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               25             23.     Secretary’s Ross’s assertions about the quality and processes of the Replan were
               26      incorrect when made, and have proven to be definitively incorrect over time. In implementing
               27      the Replan, the Census Bureau had altered its non-response follow up (“NRFU”) processes and
               28      methods—including how it would measure a household unit as “complete” or “enumerated”—in
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                   1   a manner that would increase speed but would sacrifice quality, weaken the data collection

                   2   process, and would not “meet or exceed the standard of data collection set in previous decennial

                   3   censuses.” U.S. Dept. of Commerce, Op-Ed by Commerce Secretary Wilbur L. Ross: The

                   4   Census Bureau is Not Shortchanging the Count, Aug. 14, 2020,

                   5   https://www.commerce.gov/news/op-eds/2020/08/op-ed-commerce-secretary-wilbur-l-ross-

                   6   census-bureau-not-shortchanging-count (“Ross Op-Ed”). The changes made by Defendants

                   7   would ensure that many communities across the nation would suffer in Defendants’ efforts to try

                   8   and get to a broad-brush “99% completion rate” metric for the census overall—yet Defendants

                   9   would still come nowhere close to meeting that “99% completion rate” under the Replan’s

               10      deadlines. This is shown by, among other things, the following developments.

               11             24.     Corroborating internal documents. Internal documents and materials obtained

               12      after the filing of the complaint demonstrate that in fact Plaintiffs’ allegations and concerns about

               13      the Replan—and the constitutional and statutory failings regarding its announcement,

               14      implementation, and threatened harms—were true. For instance, a presentation by the Bureau to

               15      Secretary Ross on August 3, 2020—released during this litigation—identified a number of steps

               16      the Bureau would need to take under the Replan to speed up the NRFU process. Many of these

               17      steps were expected to decrease accuracy. AR DOC_0008779. The presentation also warned

               18      that all of the activities outlined to speed up backend processing “represent abbreviated processes

               19      or eliminated activities that will reduce accuracy.”

               20             25.     Undisclosed plan to begin unprecedented wind-down of data collection on

               21      September 11, 2020. Unbeknownst to Plaintiffs, in furtherance of the September 30 operations

               22      shutdown, Defendants had secretly planned to allow every census office in the nation to start

               23      winding down and initiate closeout procedures beginning on September 11 at the discretion of

               24      the regional director—regardless of how far along they were. In fact, Defendants had already

               25      started to wind down in some undisclosed portions of the country. To put this issue in

               26      perspective, as of September 11, approximately 9%, or approximately 13.5 million, of the

               27      household units in the nation had not been counted. Despite this, each census office would have

               28      become eligible for early closeout where, among other things, the office would become eligible
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                   1   for such mechanisms as “pop count only” where census workers would cease trying to obtain full

                   2   demographic data from the household and instead seek only a “population count” alone. This

                   3   was an unprecedented and massive change from previous censuses, where such limiting closeout

                   4   procedures would generally not be implemented until roughly 1% or less of the housing units

                   5   were still to be counted.

                   6          26.     Failure to reach minimum completion levels by the Replan’s September 30 data

                   7   collection deadline, even assuming the completion percentages were true. The data also show

                   8   that Defendants’ claims that they would have reached a 99% completion rate in every state by

                   9   the Replan’s new data-collection shutdown date of September 30 was also not correct. Even

               10      assuming that the “completion” metrics being used by Defendants were materially identical to

               11      the standards used in previous censuses, 16 states plus the District of Columbia were below the

               12      99% threshold on September 30, and millions of individuals would have been shut out of the

               13      count if field operations had ceased then. U.S. Census Bureau, 2020 Census Housing Unit

               14      Enumeration Progress by State, Sept. 30, 2020, https://2020census.gov/content/dam/2020census/

               15      news/daily-nrfu-rates/nrfu-rates-report-09-30.pdf

               16             27.     The overall completion metrics, or even the state-by-state completion metrics,

               17      also hide a bigger problem: differential undercounts at the local census CFS office level. As

               18      Defendants themselves realized, in internal documents from September, numerous CFS areas

               19      were far below target. In two Census ACOs (Shreveport, Louisiana and Window Rock,

               20      Arizona), actual completion rates on September 28th were below 75% even though the targeted

               21      completion rate was over 95%. Another 22 Census offices reported completion rates of under

               22      90% on September 28th compared to a targeted completion rate of over 95%. There was also

               23      very low completion rates in tribal lands.

               24             28.     No realistic ability to reach their claimed Oct 15 completion rates under the same

               25      standards and processes used for previous censuses. The context of the 2020 data-collection

               26      period, in addition to how it played out in practice, make clear that Defendants never had a

               27      realistic ability to reach true 99% completion rates in every state by September 30 or even

               28      October 15—let alone while trying to reach hard-to-count populations—without significant,
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                   1   accuracy-reducing changes in the Bureau’s standards, processes and metrics. These changes

                   2   significantly altered and weakened NRFU and the Bureau’s measurement of it: a deliberate

                   3   sacrifice of accuracy for speed.

                   4          29.     The 2010 Census scheduled 10 weeks of NRFU to resolve ~47,200,000 million

                   5   household units. See U.S. Dept. of Commerce, Office of Inspector General, Census 2010: Final

                   6   Report to Congress (June 2011) at 49. The 2020 Census Final Operational Plan scheduled 11.5

                   7   weeks of NRFU to resolve ~64,000,000 housing units. Thus, the Census was already planning to

                   8   be far more efficient, in 2020, than in 2010—because it added only 10 days more to handle an

                   9   additional ~17 million housing units. And it spent a decade honing these efficiencies,

               10      conducting tests essentially every single year, and refining various advancements, including the

               11      use of sophisticated software, assignment optimization, advancements in review technology, the

               12      use of iPhones instead of paper technology, and so on.

               13             30.     With all of these advancements and tests, the Bureau projected enumerator

               14      productivity to be around 1.55 resolved cases/hour: an enormous and self-identified “substantial

               15      increase” over the 1.05 resolved cases per hour during the 2010 Census. U.S. Census Bureau,

               16      Final Census Test Proves Successful, Sept. 5, 2018,

               17      https://www.census.gov/newsroom/blogs/director/2018/09/final-census-test-proves-

               18      successful.html. And there was no indication that the Bureau could squeeze out greater

               19      productivity from its enumerators, even using all of this new technology and software

               20      optimization, while still reasonably maintaining accuracy.

               21             31.     In order to squeeze in 62 million housing unit enumerations into an 11.5 week

               22      period, the Bureau also closely calculated the number of enumerators it would need, based on the

               23      projected enumerator per-hour productivity and per-week workload. After a decade of study

               24      preparing for the 2020 Census, Defendants had initially projected needing around 260,000

               25      enumerators to perform NRFU operations. That number then increased to above 300,000

               26      enumerators as a result of the COVID-19 pandemic.

               27             32.     The Bureau never hired and trained the more than 300,000 enumerators that

               28      officials said they needed. Instead, they claim that enumerator productivity rates somehow
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                   1   skyrocketed—during a once-in-a-century pandemic, and during a huge and wide array of natural

                   2   disasters—to a level they never could achieve after a decade of testing. Using all the same

                   3   technology and optimizations already built in, enumerator rates shot from 1.55 cases/hour to 2.32

                   4   cases/hour.

                   5          33.     This wasn’t an August miracle. Instead, the Replan resulted in a massive

                   6   decrease in in-person visits and a corresponding increase in the use of administrative records,

                   7   proxies, and changed information requirements (i.e., pop-counts). And it was those changes—

                   8   along with even more troubling charges of enumerators being told to act improperly and cut

                   9   corners, as discussed below—that led to the impossible jump in enumerator productivity.

               10      Contrary to Secretary Ross’s promises, the 2020 data collection process did not meet or exceed

               11      the standards of the previous census, or strengthen those standards and processes. The math only

               12      worked because it slashed prior standards.

               13             34.     The claimed 99% completion rates as of October 15 are misleading and fail to

               14      measure up adequately to past censuses. Defendants’ claim that they had reached completion

               15      rates of 99% in every state of the country as of October 15, better than previous censuses, is

               16      misleading and untrue. There are in fact glaring differences between the 2020 decennial

               17      censuses and previous censuses.

               18             35.     First, the 99% completion metrics are inflated because Defendants appear to have

               19      kept the denominator of total nationwide housing units to be enumerated artificially low. They

               20      have done so by not including additional housing units identified through the NRFU process.

               21      Specifically, Defendants’ internal spreadsheets—through which they derive the daily completion

               22      rate percentages—use a total housing unit number of ~149 million, while the Census Bureau has

               23      itself said that the total number of housing units is ~152 million. On information and belief if

               24      Defendants were to add, to the denominator, the additional housing units (identified through the

               25      NRFU process or otherwise), the rates for the country overall would decrease below 99%. In

               26      addition, depending on the location of the additional housing units artificially excluded, the

               27      completion percentages for some states and local census offices might be significantly below

               28      99%.
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                   1          36.       Second, Defendants’ October 15 completion rate metrics, provided on an

                   2   October 21 media call by Bureau executives Albert Fontenot and Tim Olson, only relate to

                   3   occupied housing units and provide no information about any units marked as vacant or deleted.

                   4   See U.S. Census Bureau, 2020 Census Operational Press Briefing (Oct. 21, 2020),

                   5   https://www.census.gov/newsroom/press-kits/2020/2020-census-operational-press-briefing-

                   6   october21.html. This appears to be deliberate: Defendants have provided no data about the

                   7   millions of housing units that are marked vacant or deleted from the registry—where they are,

                   8   how they were characterized as such, or anything else. They have not even provided the overall

                   9   number of NRFU housing units marked as vacant or deleted.

               10             37.       Third, Defendants’ decision to only provide limited information about NRFU

               11      results, restricted to occupied housing unit metrics, appears to be an effort to inflate the metrics

               12      so as to convey the image that the 2020 decennial census NRFU process resulted in numbers

               13      equivalent to or better than previous censuses, and particularly as to the number of enumerations

               14      resolved by in-person interviews. In fact, the numbers are far worse. Once again, on

               15      information and belief—and by reading between the lines and triangulating from other data

               16      Defendants have provided—the 2020 census data collection period has ended with what appears

               17      to be the following glaring results when compared to prior censuses:

               18                      Of the total housing units in the nation (from Defendants’ Master
                                        Address File or MAF), which Defendants have stated equal
               19                       ~152,000,000, Defendants have enumerated over a quarter—
                                        approximately 27%— through administrative records or proxies
               20                       only. This is unprecedented in recent census history and is a
                                        dereliction of the Bureau’s duty and promise to count every person
               21                       once and in the right place. And it cannot be understated: Plaintiffs
                                        estimate that over over 41 million households and anywhere from
               22                       ~80 to 100 million people (assuming 2-3 persons per housing unit),
                                        have not been directly spoken with in this 2020 census.
               23
                                       Of the total housing units in the NRFU process, which Defendants
               24                       have stated equal ~64,000,000, Defendants have conducted in-
                                        person household enumeration of only ~36%, compared to ~47% in
               25                       the 2010 Census. If Defendants had just matched the 2010 census, it
                                        appears that they would have conducted household in-person
               26                       enumerations of ~7 million more housing units.
               27                      Of the total occupied housing units in the NRFU process, which
                                        on information and belief totals ~41,700,000, Defendants have
               28                       conducted in-person household enumeration of only ~55%,
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                   1                  compared to ~75% in the 2010 Census. If Defendants had just
                                      matched the 2010 census, it appears that they would have conducted
                   2                  household in-person enumerations of ~8 million more housing units.
                                      Additionally, it appears that Defendants enumerated far more
                   3                  household units (perhaps millions more) via administrative records
                                      then even they had previously estimated or considered—and
                   4                  Defendants have not disclosed how they softened or altered their
                                      administrative record protocols and standards to result in such a
                   5                  significant increase.

                   6          38.     From these limited numbers alone (never revealed directly by Defendants), it is

                   7   clear how Defendants have been able to claim they “finished” data collection with a “99%”

                   8   completion rate and reached such high “productivity” rates for census enumerators. They

                   9   stopped counting people live—in massive amounts—and simply changed the definition of

               10      “complete” or “enumerated” when compared to other recent censuses. But word-play does not

               11      change the substance or the massive constitutional failing of this sort of count.

               12             39.     Fourth, as indicated by the numerous Census employees who wrote to the Court,

               13      the completion numbers themselves are riddled with potential problems, ranging from

               14      enumerators pressured or told to provide false data or guesswork to enumerations being marked

               15      complete after minimal or no visits. These issues are compounded by Defendants (1) not

               16      providing any information on numbers/types of in-person visits, (2) not providing any

               17      information on the specific sorts of administrative records or proxies used, and in what quantity,

               18      (3) abandoning random re-interview quality control checks for large swaths of the data collection

               19      period, and not providing any specific information regarding their re-interview quality control

               20      checks, and (4) especially, not providing any information whatsoever by local CFS area, so as to

               21      preclude the public and Plaintiffs from assessing how Defendants’ various efforts at rushing data

               22      collection may have led to significant differential undercounts and other data-quality problems.

               23             40.     On August 14, Secretary Ross stated publicly that critics of the Replan had

               24      nothing to fear, and that the Census Bureau would meet the September 30 data collection

               25      deadline with a NRFU program stronger than before, equaling or surpassing accuracy metrics

               26      from previous censuses. As the above indicates, this simply was not true. Plaintiffs have already

               27      been able to deduce or ascertain some of Defendants’ significant failings in this respect, based on

               28      limited information currently available, and on information and belief will be able to more fully

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                   1   analyze the failings of the data collection portion of the 2020 Census upon receipt of the

                   2   information Defendants have yet to provide the public and Plaintiffs.

                   3          41.     Defendants have admitted repeatedly that they cannot obtain an accurate and

                   4   constitutionally fit census through a data processing portion that must finish by the statutory

                   5   deadline of December 31. Throughout this litigation, Defendants unequivocally stated that data-

                   6   processing operations could not be shortened beyond the three months to which they were

                   7   compressed under the Replan, and data processing must therefore begin no later than October 1.

                   8   After the Court’s preliminary injunction order, Defendants announced a new drop-dead date of

                   9   October 6. But Defendants did not begin data-processing operations until October 16, at the

               10      earliest—because data collection did not end until October 15.

               11             42.     Defendants’ statements that that they nonetheless intend to deliver census-based

               12      apportionment numbers by December 31 or shortly thereafter, are therefore extremely troubling,

               13      and an admission that the numbers will be definition be constitutionally and statutorily infirm.

               14      As Defendants’ own statements—and a host of outside experts—make clear, the Bureau cannot

               15      accomplish five months of data processing in ten weeks.

               16             43.     Defendants also repeatedly claimed that they were obligated to meet the

               17      December 31 statutory deadline for reporting apportionment counts to the President. And they

               18      repeatedly relied on this statutory reporting deadline as the only reason for adopting and

               19      defending the Replan.

               20             44.     Defendants’ recent statements, however, suggest that they no longer view the

               21      December 31 deadline as binding. There are good reasons to think that the new (not yet

               22      revealed) target date will depend on the results of the upcoming election. If President Trump

               23      does not win, Plaintiffs believe that the Secretary will ultimately submit his report after the

               24      December 31 statutory deadline but before January 10—so that this President is able to

               25      implement the Presidential Memorandum and submit that revised apportionment count before he

               26      leaves office. The latest change in position only further confirms that the statutory deadline was

               27      mere pretext. The true motivation for the severely truncated deadlines in the Replan is and has

               28      always been a timeline that gives this President control over the final apportionment numbers.
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                   1                                               *       *       *

                   2           45.     Plaintiffs are local governments, civil rights and civic organizations, and

                   3   individuals whose communities will almost certainly be inaccurately represented and

                   4   underrepresented in the final census count if the administration succeeds in truncating the census.

                   5           46.     Plaintiffs seek declaratory relief affirming that Defendants’ actions violate the

                   6   Enumeration Clause and the Administrative Procedure Act. Plaintiffs additionally seek to set

                   7   aside and enjoin implementation or effectuation of the illegal Replan, thereby permitting the

                   8   Bureau to implement and effectuate the preexisting COVID-19 Plan it carefully designed to

                   9   ensure a complete and accurate count. This relief will allow the Bureau to conduct the 2020

               10      Census on the timeline and in the manner it has repeatedly asserted is necessary to complete a

               11      full, fair, and accurate census

               12              47.     Without such relief, Plaintiffs and the communities they represent will suffer

               13      irreparable harm for at least another decade, until the next census is conducted.

               14                                        JURISDICTION AND VENUE

               15              48.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1346(a), and

               16      1361.

               17              49.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2) and (e)(1).

               18      Defendants are United States officers or agencies sued in their official capacities, a substantial

               19      part of the events or omissions giving rise to this action have occurred or will occur in this

               20      district, and one or more Plaintiffs reside in this district.

               21              50.     This Court may grant declaratory and injunctive relief under 28 U.S.C. §§ 2201

               22      and 2202.

               23              51.     The proper intradistrict assignment for this action is the San Jose Division, in light

               24      of the location of Plaintiffs City of San Jose and members of the League of Women Voters.

               25                                                      PARTIES

               26      I.      Plaintiffs

               27              52.     The National Urban League (“Urban League”) is a civil-rights organization with

               28      over 90 affiliates serving 300 communities in 37 states and the District of Columbia. Founded in
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                   1   1910, the Urban League is headquartered in New York City. The mission of the Urban League

                   2   is to help African Americans and others in underserved communities achieve their highest

                   3   human potential and secure economic self-reliance, parity, power, and civil rights.

                   4           53.     For the 2020 Census, the Urban League has expended substantial resources

                   5   developing programs designed to encourage self-response and cooperation with Census Bureau

                   6   offices in historically undercounted communities. Specifically, the organization has engaged in

                   7   efforts to educate the public about the census through various methods, including virtual town

                   8   halls, production and distribution of toolkits, workshops for locally based get-out-the-count

                   9   organizations, and publication and upkeep of a website, www.MakeBlackCount.org, to

               10      disseminate critical information about the census. The Urban League has also worked with

               11      Census Bureau regional offices to encourage enumerator recruitment, and the organization uses

               12      social media to encourage 2020 Census participation.

               13              54.     Plaintiff Black Alliance for Just Immigration (“BAJI”) is a nonprofit organization

               14      organized and existing under the laws of California, with offices and members across the

               15      country, including in Oakland, California, Miami, Florida, Atlanta, Georgia, and New York City.

               16      BAJI collaborates with African Americans and Black immigrants to organize and advocate for

               17      equal and just laws in their communities. BAJI campaigns to advance racial justice and provides

               18      partner organizations with varied assistance—particularly on immigration policy—and it spends

               19      significant resources educating its partner organizations, individuals, and other constituents

               20      through presentations, workshops, publications, technical assistance, and trainings. BAJI is a

               21      membership organization, and its members either pay dues or volunteer their time to support the

               22      organization. Members also actively participate in BAJI’s self-governance and decision-making

               23      at the local level.

               24              55.     For the 2020 Census, BAJI has worked to ensure non-responsive households in

               25      Black and immigrant communities are counted. BAJI has hired additional staff dedicated to

               26      engaging local communities on the census, and has engaged in outreach using social media and

               27      mailers to bolster self-response. In addition, since the outbreak of the COVID-19 pandemic,

               28      BAJI staff have regularly participated in webinars and virtual events to provide the public more
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                   1   information about the census, with a specific focus on encouraging participation in Black and

                   2   immigrant communities.

                   3          56.      The League of Women Voters is a nonprofit civic organization that encourages

                   4   informed and active participation in government. Founded in 1920, the League of Women

                   5   Voters is headquartered in Washington, D.C. The League of Women Voters has over 800 state

                   6   and local affiliates, located in all 50 states and in 764 specific communities, including affiliates

                   7   with members in San Francisco and Monterey County, California, Detroit, Michigan, Miami,

                   8   Florida, Philadelphia, Pennsylvania, and New York City. The League of Women Voters seeks to

                   9   empower voters and defend democracy. The League of Women Voters has over 65,000

               10      members nationwide, and its members either pay dues or volunteer their time to support the

               11      organization.

               12             57.      The League of Women Voters has engaged in significant efforts to ensure

               13      historically undercounted communities are enumerated during the 2020 Non-Response Follow

               14      Up operation. Prior to the outbreak of COVID-19 in the United States, the League of Women

               15      Voters and its affiliates participated in public events across the country aimed at providing

               16      information about the census to undercounted communities. Since March of this year, the

               17      League of Women Voters has shifted to a digital public-education campaign, encouraging

               18      education and participation through social media, email listservs, webinars, and blog posts.

               19      Affiliates in Kansas, South Carolina and Maine have also participated in state Complete Count

               20      Committees that seek to increase awareness of the 2020 Census, improve participation, and

               21      coordinate with Census Bureau officials.

               22             58.      Harris County, Texas is a political subdivision of the State of Texas. With over

               23      4.7 million residents, Harris County is the third largest county in the United States. The county’s

               24      population is over 43% Latino, 20% Black, over 7% Asian, and over 28% non-Hispanic White.

               25      During the 2010 Census, 65.1% of households in Harris County self-responded to the census. As

               26      of August 14, 2020, 58.3% of households in Harris County had self-responded to the 2020

               27      Census. This response rate in Harris County was well below the national response rate on that

               28      date, 63.6%.
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                   1          59.     For the 2020 Census, officials in Harris County have engaged in extensive efforts

                   2   to encourage participation in the County. County officials formed a Complete Count Committee

                   3   with city officials in Houston that engaged in public education about the census, and built

                   4   partnerships with local Census Bureau officials to coordinate outreach efforts. In addition, in

                   5   2019, the County approved a budget of nearly $4 million dollars to conduct outreach during the

                   6   2020 Census. To that end, the County has contracted with vendors to conduct surveys about the

                   7   opinions and attitudes of non-responsive populations and develop a digital advertising campaign

                   8   on Facebook and Instagram to encourage 2020 Census participation. And the County receives

                   9   substantial federal funding tied to census data.

               10             60.     King County is a political subdivision of the State of Washington. Over 2.2

               11      million people live in King County, making it the most populous county in Washington. As of

               12      August 14, 2020, 26.1% of households in King County had not responded to the 2020 Census.

               13      The county has large populations of historically undercounted communities. For instance,

               14      according to the Department of Housing and Urban Development, King County had nearly

               15      12,000 residents experiencing homelessness, the third highest total of any locale in the country.

               16      The Seattle metro area, which includes King County, is estimated to have 140,000

               17      undocumented immigrant residents.

               18             61.      King County worked in partnership with local cities to provide $1.17 million to

               19      community-based organizations serving historically undercounted communities. Specifically,

               20      King County sought to fund organizations that work with communities that are Limited English

               21      Proficient. Through this funding, these organizations have produced public education materials

               22      related to the 2020 Census, and developed campaigns to get-out-the-count. And King County,

               23      too, receives substantial federal funding tied to census data.

               24             62.     The City of Los Angeles, California is a municipal corporation organized and

               25      existing under the laws of the State of California, and is a charter city pursuant to Article XI of

               26      the California Constitution. The City of Los Angeles is home to roughly 4 million people, is the

               27      second largest city in the United States, and is located in the county recognized by the Census

               28      Bureau as the hardest to count in the nation. The city’s population is a large contributor to the
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                   1   County’s hard-to-count status as more than half of the city’s residents live in census tracts that

                   2   are hard to count. As of August 14, 2020, only 53.8% of the city’s households had responded to

                   3   the 2020 Census—well below the statewide average of 65.1% and even further below the city's

                   4   own 2010 self-response rate of 68 percent.

                   5           63.    As a result of its hard-to-count status, the City of Los Angeles has engaged in

                   6   years of planning and devoted significant resources to developing a strategy for an accurate

                   7   count, tailored to the unique challenges of the city’s population. To fund these efforts, the city

                   8   has overseen distribution of roughly $2 million dollars to community-based organizations and

                   9   the investment of almost $1.5 million of both city general fund and grant money in its own

               10      efforts. And the City of Los Angeles also receives substantial federal funding tied to census

               11      data.

               12              64.    The City of Salinas, California is a political subdivision of the State of California.

               13      Salinas is the most populous city in and the government seat of the County of Monterey. The

               14      city is home to more than 150,000 people, including 38.5% of the county’s “hard-to-count”

               15      population. As of August 14, 2020, 57.2% of all households in Salinas have responded to the

               16      2020 Census, which is 422nd out of all 482 California cities. The current response rate is 7.9

               17      percentage points below California’s statewide average for self-responses and more than 10

               18      percentage points below Salinas's self-response rate from the 2010 Census.

               19              65.    Salinas has dedicated significant resources to funding and staffing its “Census

               20      Action Team,” which is composed of city staff and representatives from the County of

               21      Monterey’s “Complete Count Committee,” as well as community-based organizations, school

               22      districts, and local businesses. The city’s population is more than 75% Latino, and more than 1

               23      in 5 households have limited English-language proficiency. As part of its outreach, the Salinas

               24      Census Action Team engages religious and community organizations, such as local food banks,

               25      to assist with enumeration efforts in the Latino community and all communities of color as these

               26      organizations are able to assist with trust and communication barriers that can make these groups

               27      hard to count. The City of Salinas also receives substantial federal funding tied to census data.

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                   1          66.     The City of San Jose is a political subdivision of the State of California. San Jose

                   2   has over 1 million residents, making it the largest city in Northern California, and the tenth

                   3   largest city in the United States. San Jose’s population is 32% Latino, and 35% Asian, and

                   4   nearly 40% of residents are foreign born. As of August 14, 2020, 28% of households in San Jose

                   5   had not responded to the census. San Jose has large populations of historically undercounted

                   6   communities. For instance, according to the Department of Housing and Urban Development, in

                   7   2019, San Jose had over 6,000 residents experiencing homeless. In addition, the San Jose metro

                   8   area is estimated to have over 150,000 undocumented immigrant residents.

                   9          67.     The City of San Jose has engaged in extensive public-education and get-out-the-

               10      count efforts during the 2020 Census. San Jose has formed a Complete Count Committee with

               11      Santa Clara County, and nearly 90 community-based organizations. The Committee focuses on

               12      raising awareness of the census in historically undercounted communities. San Jose has

               13      disseminated information about the census to the public through city departments and offices,

               14      and has worked closely with the Census Bureau to recruit qualified bilingual enumerators. The

               15      City of San Jose receives substantial federal funding tied to census data.

               16             68.     Plaintiff Rodney Ellis is the Commissioner for Precinct One on the Harris County

               17      Commissioners Court. He is a resident and citizen of Harris County, where he is registered to

               18      vote and regularly exercises his right to vote. Commissioner Ellis regularly drives on roads and

               19      highways in Harris County.

               20             69.     Plaintiff Adrian Garcia is the Commissioner for Precinct Two on the Harris

               21      County Commissioners Court. He is a life-long resident and citizen of Harris County, where he

               22      is registered to vote and regularly exercises his right to vote. Commissioner Garcia also

               23      regularly drives on roads and highways in Harris County.

               24             70.     The National Association for the Advancement of Colored People (“NAACP”) is

               25      the nation’s oldest and largest grassroots-based civil rights organization. The NAACP is

               26      headquartered in Baltimore, Maryland, and has over 2000 units across the country, including

               27      units in all 50 states and the District of Columbia. The NAACP’s units are predominantly

               28      located in states and metropolitan areas with large Black populations, and NAACP members are
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                   1   more likely than the average resident of the United States to reside in a hard-to-count

                   2   community. The NAACP has membership and active units in cities like Detroit, Cleveland, and

                   3   Newark—all places where, as of August 28, 2020, the Census Bureau reported a lower than 50

                   4   percent self-response rate to the 2020 Census.

                   5            71.   The NAACP has made considerable efforts—and expended significant

                   6   resources—to ensure that the 2020 Non-Response Follow Up operation successfully enumerates

                   7   hard-to-count communities. Prior to the outbreak of COVID-19, the NAACP and its units

                   8   launched a “Be Counted” campaign to inform NAACP membership and undercounted

                   9   communities about the 2020 Census. The NAACP and its local units participated in public

               10      events around the country; the NAACP hosted townhalls and published materials and posts

               11      describing the importance of the census and the historical undercount of Black communities; and

               12      NAACP local units assumed leadership rules in a variety of Complete Count Committees. To

               13      get out the count in the face of COVID-19, the NAACP has published a number of posts and

               14      articles, hosted an all-online “Black Census Week,” partnered with CBS and other organizations

               15      to create 2020 Census digital “PSAs,” and built new youth programming to make use of social

               16      media.

               17               72.   The City of Chicago is a municipal corporation and home rule unit organized and

               18      existing under the constitution and laws of the State of Illinois. With over 2.7 million residents,

               19      Chicago is the third largest city in the United States. Chicago’s population is 30% Black, 29%

               20      Latino, over 6.4% Asian, and over 32% non-Hispanic White. During the 2010 Census, 62.4% of

               21      households in Chicago self-responded to the census. As of August 28, 2020, 58.1% of

               22      households in Chicago had self-responded to the 2020 Census. This response rate was well

               23      below the national response rate on that date, 64.7%.

               24               73.   For the 2020 Census, officials in the City of Chicago designated $2.7 million for

               25      promotion of census participation. Chicago established a complete count committee with

               26      businesses and nonprofits to stimulate participation, provided grants to organizations engaging

               27      with hard-to-count communities, and encouraged responses through public service

               28      announcements on radio, social media, billboards and newspapers. In addition, Chicago has sent
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                   1   paid staff into communities with low response rates to encourage participation, as well as engage

                   2   in phone banking and texting campaigns. Chicago receives federal funding under several federal

                   3   programs that allocate resources based on census-derived information, including the Community

                   4   Development Block Grant program, the Low Income Home Energy Assistance Program,

                   5   Workforce Innovation and Opportunity Act grants and others.

                   6          74.     The County of Los Angeles is a political subdivision of the State of California.

                   7   The County of Los Angeles is the largest county in the nation, with more than 10 million

                   8   residents. It is also one of the country’s most diverse counties, with millions of immigrants

                   9   calling it home. According to the U.S. Census Bureau, 34.2% of Los Angeles County residents

               10      are foreign-born and 48.6% are of Latino descent. Given a high concentration of hard to count

               11      populations, Los Angeles is among the hardest to count counties in the United States. As of

               12      August 28, 2020, 62.2% of households in the County of Los Angeles, had responded to the 2020

               13      Census, well below both the California average self-response rate of 66.9% and the national self-

               14      response rate of 64.7% on that date.

               15             75.     To ensure a more accurate count in the 2020 Census, the County of Los Angeles

               16      has engaged in significant expenditures. The County of Los Angeles instigated a notice

               17      campaign to all residents informing them of the previous, October 31, 2020, Self-Response

               18      deadline, and has had to reprint materials, distribute them to residents, and address any confusion

               19      regarding the change in dates. The County of Los Angeles has also created an extensive

               20      outreach and promotional campaign including but not limited to in-store signage at grocery

               21      stores and pharmacies, print and digital advertising, and social media editorial calendars and

               22      content. The County of Los Angeles developed these plans specifically incorporating the

               23      October 31, 2020, Self-Response deadline under the COVID-19 Plan, and has had to revise these

               24      campaigns to account for a new, shortened Self-Response deadline.

               25             76.     The Navajo Nation is the largest Indian Nation in the United States with a

               26      reservation spanning 27,000 square miles across the states of Arizona, New Mexico, and Utah.

               27      The 2010 Census recorded a population of 327,726 for the Navajo Nation. During the 2010

               28      Census, 29.4% of households in the Navajo Nation responded to the census. As of August 28,
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                   1   2020, only 18% of households in the Navajo Nation had self-responded to the 2020 Census.

                   2   Many households in Navajo Nation have limited access to regular mail, and internet. As a result,

                   3   the primary method for enumerating households in the Navajo Nation is through census field

                   4   operations.

                   5          77.      For the 2020 Census, the Navajo Nation sought to ensure that every resident was

                   6   counted. To that end, the Navajo Nation engaged in outreach efforts such as posting public

                   7   service announcements on social media, radio, television and in newspapers. The Navajo Nation

                   8   also worked with advocates to speak at community events, and provide informational flyers

                   9   during food distribution events, during senior shopping hours at grocery stores, and at checkpoint

               10      stops for those entering and leaving the Nation. Outreach was conducted in both English and

               11      Diné. The Navajo Nation ultimately depends on accurate census data for a number of essential

               12      government functions, including determining the appropriate location for healthcare facilities

               13      and services on the reservation, and projecting population needs to assist in determination of

               14      water rights claims. In addition, the Navajo Nation federal funding under several programs that

               15      allocate resources on the basis of census-derived data, including the Tribal Transportation

               16      Program which provides essential resources for maintenance of roads, bridges and airports on

               17      reservations.

               18             78.      The Gila River Indian Community is a sovereign Indian nation composed of

               19      members of the Pima and Maricopa Tribes, traditionally known as the Akimel O’otham and Pee-

               20      Posh. It is organized and federally recognized pursuant to § 16 of the Indian Reorganization Act

               21      of June 18, 1934, 25 U.S.C. § 5123. The Gila River Indian Reservation, an area of over 372,000

               22      acres, is located in south-central Arizona south of Phoenix. Most of the reservation is rural, and

               23      many households are identifiable only by a post office box. Also, many households lack access

               24      to high-speed internet. Consequently, in-person interaction with census enumerators is critical to

               25      ensuring an accurate census count of the Gila River Indian Community. As of August 28, 2020,

               26      only 9.5% of households had self-responded to the 2020 Census.

               27             79.      The Gila River Indian Community had planned census-response rallies and

               28      activities for 2020, as well as a door-to-door effort to make sure all individuals and households
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                   1   on the Reservation are counted. But for the past five months the Gila River Indian Community

                   2   has been under shelter-in-place orders, making most of those efforts impossible. Federal funding

                   3   for the Gila River Indian Community is based largely on census numbers. An undercount will

                   4   result in significant underfunding of tribal programs, including Indian Health Service Funding,

                   5   Indian Housing Block Grants, the Tribal Transportation Program, Violence Against Women

                   6   Programs, Family Violence Prevention and Services Grants (for battered women shelters),

                   7   Native American Employment and Training programs, Head Start, Temporary Assistance to

                   8   Needy Families, and Special Programs for the Aging – tribal grants.

                   9   II.     Defendants

               10              80.      Defendant Wilbur L. Ross is the Secretary of the U.S. Department of Commerce

               11      and is sued in his official capacity. Secretary Ross oversees the U.S. Department of Commerce

               12      and the Census Bureau. Congress has delegated the responsibility for carrying out the decennial

               13      census to the Secretary of Commerce. 13 U.S.C. § 141(a).

               14              81.      Defendant U.S. Department of Commerce is a cabinet agency within the

               15      Executive Branch responsible for administering the decennial census.

               16              82.      Defendant Steven Dillingham is the Director of the U.S. Census Bureau and is

               17      sued in his official capacity.

               18              83.      Defendant U.S. Census Bureau is an agency within the Department of Commerce

               19      responsible for planning and administering the decennial census. 13 U.S.C. § 2.

               20                                              ALLEGATIONS

               21      III.    Defendants’ Constitutional and Statutory Obligations

               22              84.      Under the United States Constitution, the federal government must conduct an

               23      “actual Enumeration” of the population once every ten years. U.S. Const. art. I, § 2.

               24              85.      The population totals produced by the decennial enumeration are used to

               25      apportion congressional representatives to the various states. Id. Census figures are also used in

               26      state and local redistricting and in the distribution of federal funds to communities across the

               27      United States.

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                   1             86.   The Enumeration Clause requires that decisions relating to the census bear a

                   2   “reasonable relationship” to the constitutional purpose of the enumeration. Wisconsin, 517 U.S.

                   3   at 20.

                   4             87.   Similarly, the Census Act imposes a mandatory duty on the Secretary of

                   5   Commerce to “conduct a census that is accurate and that fairly accounts for the crucial

                   6   representational rights that depend on the census and the apportionment.” Dep’t of Commerce v.

                   7   New York, 139 S. Ct. 2551, 2569 (2019) (citation omitted).

                   8             88.   Consequently, the Secretary of Commerce and the Census Bureau are

                   9   constitutionally and statutorily obligated to make decisions in conducting the census that are

               10      reasonably related to achieving a fair and accurate calculation of the population of the United

               11      States.

               12      IV.       The Census Bureau’s Pre-COVID-19 Operational Plans for the 2020 Census

               13                89.   For the 2020 Census, the Census Bureau spent the better part of a decade

               14      designing operations to fulfill its constitutional and statutory mandate, including: soliciting and

               15      incorporating feedback from seasoned experts, advisors, and community groups; testing various

               16      features of its data-collection and data-processing operations; and ensuring that its decisions for

               17      conducting the census reflected sound, scientifically based judgment.

               18                90.   To this end, the Bureau created an operational plan to guide its efforts, including

               19      its efforts to collect data from census respondents and to process that data into usable forms for

               20      constitutionally and statutorily mandated purposes, including reapportionment and redistricting.

               21                91.   On December 31, 2018, the Bureau promulgated the final version of its

               22      operational plan, which the Bureau called “Version 4.0” (hereinafter referred to as the “Final

               23      Operational Plan”). See U.S. Census Bureau, Final Operational Plan (Dec. 2018),

               24      https://www2.census.gov/programs-surveys/decennial/2020/program-management/planning-

               25      docs/2020-oper-plan4.pdf. In the Final Operational Plan, the Census Bureau stated that its goal

               26      for the 2020 Census is to “count everyone once, only once, and in the right place.”

               27                92.   Under the Paperwork Reduction Act, the Office of Management and Budget must

               28      review and approve the plans for any federal survey, including the decennial census, to ensure
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                   1   that those surveys meet government standards, minimize respondent burden, and maximize the

                   2   utility of the collected information. 44 U.S.C. § 3504(c).

                   3           93.    The Office of Management and Budget formally reviewed and approved the

                   4   Census Bureau’s pre-COVID-19 plans for the decennial census, including the Final Operational

                   5   Plan.

                   6           94.    The Final Operational Plan includes over 200 pages of detailed and transparent

                   7   conclusions for achieving the 2020 Census’s objective of an accurate count.

                   8           95.    The Final Operational Plan reflects the conclusions of various experts including

                   9   survey methodologists, statisticians, demographers, geographers, linguists, and mathematicians.

               10              96.    The Final Operational Plan states that it “reflects and supports evidence-based

               11      decision-making” about the operations necessary to gather and process census responses from

               12      every household in the country.

               13              97.    The Final Operational Plan states that it was “informed through research, testing,

               14      and analysis conducted from 2012 through 2018.”

               15              98.    The Bureau conducted at least fifteen tests between 2012 and December 31, 2018,

               16      when it published its Final Operational Plan.

               17              99.    Career Bureau staff developed the Final Operational Plan following substantial

               18      consultation with outside experts and census stakeholders, including members of the Census

               19      Scientific Advisory Committee and the National Advisory Committee.

               20              100.   The Census Bureau also produced a series of “detailed operational plans,” which

               21      supplement the Final Operational Plan, and provide more parameters for the individual

               22      operations that, together, comprise the 2020 Census.

               23              101.   The detailed operational plans likewise reflect the conclusions of various subject-

               24      matter experts regarding how to complete an accurate count.

               25              102.   The Bureau’s Final Operational Plan contains several major categories of

               26      operations. Two of those categories are particularly important for purposes of this lawsuit: data-

               27      collection and data-processing.

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                   1          103.     “Data-collection” refers to operations through which the Bureau obtains

                   2   information from and about all the people living in the United States.

                   3          104.     “Data-processing” refers to operations through which the Bureau fills in any gaps

                   4   in the personal information that it collects from people, transforms the resulting data into usable

                   5   forms, checks those results for accuracy and other aspects of data quality, and publishes those

                   6   results, among other things.

                   7          105.     The Bureau must thoroughly, fully, and correctly perform both categories of

                   8   operations—collection and processing—to achieve its stated goal of counting everyone once,

                   9   only once, and in the right place.

               10         A. Census Data Collection

               11             106.     During the census, the Bureau attempts both to determine the number of people in

               12      the country and their characteristics, such as their race and ethnicity.

               13             107.     Although the Census Bureau planned to deploy many methods during the 2020

               14      Census to collect counts and characteristics from households around the country, the Bureau

               15      contemplated, in both the Final Operational Plan, and in the supplemental detailed operational

               16      plans, that three methods would account for the overwhelming majority of census responses: the

               17      “Self-Response” method; the “Update Leave” method; and the “Non-Response Follow Up”

               18      method. See U.S. Census Bureau, 2020 Census Detailed Operational Plan for: 18. Non-

               19      Response Follow Up Operation (July 15, 2019), https://www2.census.gov/programs-

               20      surveys/decennial/2020/program-management/planning-docs/NRFU-detailed-operational-

               21      plan_v20.pdf.

               22             108.     The Self-Response method was the “primary methodology for the 2020 Census.”

               23      Under this method, heads of households would provide their 2020 Census responses directly to

               24      the Census Bureau by mailing back a paper census form, filling out a digital form on the

               25      Bureau’s online census portal, or calling into telephone hotlines to provide their responses to

               26      Bureau employees operating those hotlines.

               27             109.     The Update Leave method was the methodology for reaching housing units that

               28      could not receive physical mail or did not have verifiable mailing addresses. Under this method,
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                   1   Bureau employees would travel throughout both rural and urban areas, leaving invitations to

                   2   participate and paper census questionnaires at these housing units, so that the people living in

                   3   those locations could respond themselves.

                   4          110.    The Self-Response method and the Update Leave method are crucial for obtaining

                   5   accurate information about the number of people in the country and their characteristics, because

                   6   data people report about themselves and the members of their housing units is the highest quality

                   7   data that the census collects.

                   8          111.    But for the tens of millions of households that do not report their personal data

                   9   through the Self-Response or Update Leave method, the Bureau’s next-best source of personal

               10      data is data it collects directly from people through the Non-Response Follow Up method.

               11             112.    As part of the Non-Response Follow Up method, the Bureau sends its employee

               12      enumerators directly to housing units so that they can attempt to speak with a person occupying

               13      each unit and obtain information about everyone who should be counted in that unit.

               14             113.    The Bureau requires enumerators to record their responses for each household

               15      through iPhones that the Bureau specifically contracted and customized for this purpose. The

               16      enumerators’ iPhones include software designed to lead enumerators consistently and reliably to

               17      solicit information from people at their doors. The enumerators’ iPhones also include software

               18      to ensure that any data collected from housing units remains confidential as it is being

               19      transmitted to the Bureau. The limited supply of these customized iPhones places a limit on the

               20      number of enumerators that the Bureau can deploy in the field.

               21             114.    The Bureau’s Detailed Operational Plan for Non-Response Follow Up, which

               22      supplements the Final Operational Plan, sets out a specific protocol for conducting Non-

               23      Response Follow Up.

               24             115.    Under the Detailed Operational Plan, each housing unit assigned for a visit from

               25      an enumerator was eligible for up to six “contact days.” A “contact day” could include more

               26      than one attempted contact per day.

               27             116.    The Bureau concluded it could pursue less than six contact days only under

               28      certain scenarios.
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                   1            117.   One scenario that would allow the Bureau to pursue fewer than six contact days

                   2   was the existence of high-quality administrative records for the housing unit. The Census

                   3   Bureau has collected data from federal administrative agencies, such as the Social Security

                   4   Administration, the Internal Revenue Service, and the Department of Housing and Urban

                   5   Renewal, among others, as well as data from states, which it uses to provide information about

                   6   the count and characteristics of non-responsive households.

                   7            118.   If the Bureau had located administrative data from more than one source of

                   8   federal and/or state administrative records and concluded that those records contained accurate

                   9   demographic data for the occupants of a housing unit, the Bureau’s enumerators would attempt

               10      only one contact with that unit. If—during that contact attempt—the enumerator did not succeed

               11      in finding a live person at the unit, then the Bureau would use the information in the

               12      administrative records to fill in the census responses for that unit during the data-processing

               13      phase of the 2020 Census.

               14               119.   A second scenario that would allow the Bureau to pursue less than six contact

               15      days would arise if the Bureau identified a proxy—a person such as a neighbor or landlord that

               16      the enumerator could ask for information about the occupants of the housing unit in question.

               17      After a third failed contact attempt, a unit would become eligible for being counted through

               18      proxy.

               19               120.   Proxies can produce many types of data. For instance, proxies are useful for

               20      helping the Bureau identify whether a housing unit is vacant—and thus should be marked

               21      “vacant” in the Master Address File that the Bureau uses to keep track of the overwhelming

               22      majority of housing units that it must enumerate—or non-existent—and thus should be deleted

               23      from the Master Address File. For the 2020 Census, the Bureau was planning to use

               24      administrative records, such as the United States Postal Service’s directory of non-deliverable

               25      addresses, to identify vacant housing, but proxies are generally more accurate for this purpose.

               26      Finally, proxies provide vital data for other operations that the Bureau undertakes during its data-

               27      processing phase, described further below.

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                   1           121.    If the Bureau is unable to enumerate a household after six contact days, in most

                   2   cases, it will resort to less accurate methods for determining the count and characteristics of the

                   3   household during its data-processing phase, described below.

                   4           122.    The Bureau performs several other vital operations in addition to door-knocking

                   5   during the Non-Response Follow Up period, including a series of operations to ensure the quality

                   6   of the data that it collects in the field.

                   7           123.    During the Non-Response Follow Up process, the Bureau: follows up with people

                   8   who self-responded to the census online but did not enter their unique census identification

                   9   number to ensure that they are counted in the right place (a process known as “Field

               10      Verification”); and corrects information reported erroneously or omitted from previously

               11      submitted census forms (a process known as “Coverage Improvement”).

               12              124.    In addition, the Bureau re-collects census responses in select instances to ensure

               13      that the original submissions were accurate (a process known as “Self-Response Quality

               14      Assurance”). This operation protects against enumerators falsifying the information that they

               15      provide to the Bureau. Specifically, the Bureau conducts quality control reinterviews of a

               16      sample of households. This component is designed to deter and detect cases where enumerators

               17      have provided false information about the housing units they are assigned to canvass.

               18              125.    Quality control reinterviews are part of a broader set of protocols that the Bureau

               19      has developed to guard against factors that endanger the accuracy of the count. Non-Response

               20      Follow Up is thus important not only for collecting information, but also for ensuring that the

               21      information that is collected is accurate. These two components—gathering data and ensuring its

               22      accuracy—must both occur for the Bureau to get a fair and accurate count.

               23              126.    The Bureau anticipated that approximately 60% of housing units nationally would

               24      respond to the 2020 Census through Self-Response and Update Leave, potentially making up to

               25      40% of housing units targets for Non-Response Follow Up.

               26              127.    A Non-Response Follow Up universe of 40% of the housing units in the country

               27      would have been the largest follow up universe on a percentage basis since at least 1970.

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                   1           128.     The Census Bureau did not anticipate that the Non-Response Follow Up universe

                   2   in 2020 would mirror the demographic makeup of the nation’s population as a whole.

                   3           129.     Instead, the Census Bureau anticipated that the Non-Response Follow Up

                   4   universe in 2020 would contain a disproportionate number of people who belong to communities

                   5   that the Bureau calls “hard-to-count.”

                   6           130.     The Final Operational Plan describes hard-to-count populations as including, but

                   7   not limited to, the following populations: young children; highly mobile persons; racial and

                   8   ethnic minorities; non-English speakers; low-income persons; persons experiencing

                   9   homelessness; undocumented immigrants; persons who have distrust in the government; lesbian,

               10      gay, bisexual, transgender, and questioning/queer (LGBTQ) persons; persons with mental and

               11      physical disabilities; and persons who do not live in traditional housing.

               12              131.     Historically, these populations have had low self-response rates and have, thus,

               13      made up disproportionate shares of households that must receive contact days during Non-

               14      Response Follow Up.

               15              132.     Consequently, the Final Operational Plan acknowledges, “[t]he NRFU Operation

               16      is entirely about hard-to-count populations.”

               17              133.     The Final Operational Plan also acknowledges that hard-to-count populations may

               18      require more outreach than the Non-Response Follow Up method would normally provide, and

               19      the Bureau designed its Final Operational Plan accordingly.

               20              134.     The Final Operational Plan states that “[w]hile most cases receive a maximum of

               21      six attempts, cases in hard-to-count areas may receive more than six attempts to achieve a

               22      consistent response rate for all geographic areas.”

               23              135.     Accurate data about the size, location, and characteristics of communities of color

               24      is necessary to equitably distribute political power through congressional reapportionment and

               25      redistricting at the state and local levels, enforce civil-rights laws that affect basic needs like

               26      housing and employment, and conduct effective research, including on pressing issues like

               27      public health.

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                   1      B. Census Data Processing

                   2          136.     After collection activities are complete, the Census Bureau must process the data.

                   3          137.     Census data-processing cannot begin until census data-collection concludes.

                   4          138.     Census data is unusable for its intended purposes until it has been processed.

                   5          139.     The Census Bureau’s data-processing operations transform tens of millions of

                   6   census responses into usable products, including the population totals used to reapportion seats in

                   7   the U.S. House of Representatives and to create electoral districts.

                   8          140.     The Bureau uses its data-processing operations to, among other things, ensure that

                   9   data received from different data-collection methods are all in a single format allowing them to

               10      be processed together.

               11             141.     The Bureau uses its data-processing operations to “unduplicate responses”—

               12      meaning to resolve conflicts of information among multiple forms attributable to the same

               13      housing unit.

               14             142.     The Bureau uses its data-processing operations to help determine the final status

               15      of a housing unit—such as vacant or inhabited—and determine the total number of people that

               16      should be attributed to any apparently inhabited unit that was not counted through Self-

               17      Response, Update Leave, or Non-Response Follow Up.

               18             143.     The Bureau also uses its data-processing operations to help ensure that Bureau

               19      data products accurately report respondents’ characteristics, such as age, race, and ethnicity.

               20             144.     The Bureau uses administrative records and statistical imputation during the data-

               21      processing phase to fill in both missing people and their characteristics. But administrative

               22      records—especially low-quality administrative records—and statistical imputation are generally

               23      less accurate than self-response data.

               24             145.     For many households, administrative data provides only low quality information,

               25      replete with inaccuracies and incomplete information. This is especially the case for particular

               26      communities that are underrepresented in administrative records, including communities of

               27      color, immigrants, and low-income families. Use of this low-quality data to fill in missing

               28      information for non-responsive households produces less accurate information.
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                   1          146.       Imputation involves the Bureau using information from surrounding responsive

                   2   households to infer the count and characteristics of a non-responsive household. Imputation thus

                   3   assumes the existence of other data points gathered through other data-collection methods—such

                   4   as self-response, proxies, and administrative records—and generates more accurate results when

                   5   it can be triangulated against those data points. The processes that the Bureau uses to collect and

                   6   process self-response data, proxy data, and administrative records are thus critical and

                   7   inextricably linked to the Bureau’s ability to impute data accurately.

                   8          147.       At various phases of the Bureau’s data-processing operations, Census Bureau

                   9   personnel must review the quality of files in-process before those files can be sent to the

               10      subsequent steps in the data-processing operation. These reviews include personnel with

               11      subject-matter expertise from several different divisions of the Bureau.

               12             148.       The Bureau’s data-processing operations help ensure that people are not missed,

               13      that other people are not counted multiple times, and that people’s characteristics are accurately

               14      reported. These processes help eliminate or reduce undercounts, among other kinds of data-

               15      quality issues.

               16         C. The Final Operational Plan’s Timeline for the 2020 Census

               17             149.       The Bureau’s Final Operational Plan called for data-collection to run from

               18      January 21, 2020, to July 31, 2020, for a total of more than six months.

               19             150.       In that window, the Self Response method was scheduled to run from March 12,

               20      2020 to July 31, 2020, and the Update Leave method was scheduled for March 15, 2020 to

               21      April 17, 2020.

               22             151.       The Bureau also scheduled several special operations to occur early in its census

               23      taking process. The Service-Based Enumeration, which counts people experiencing

               24      homelessness, was scheduled for March 30, 2020 to April 1, 2020, and Group Quarters

               25      Enumeration, which counts people living in group housing such as nursing homes, was

               26      scheduled from April 2, 2020 to June 5, 2020.

               27             152.       The Bureau scheduled the Non-Response Follow Up method to run from May 13,

               28      2020 to July 31, 2020, for a total of approximately eleven and a half weeks.
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                   1          153.    The Bureau scheduled up to five months—from July 31, 2020 to December 31,

                   2   2020—to process census data for the congressional reapportionment report.

                   3          154.    The Bureau also scheduled an additional three months—from January 1, 2021 to

                   4   March 30, 2021—to process census data for redistricting.

                   5          155.    The Bureau’s timelines for implementing the Final Operational Plan reflect the

                   6   Bureau’s scientifically informed understanding of the time necessary to complete its operations

                   7   and generate an accurate count.

                   8   V.     The Census Bureau’s COVID-19 Plan

                   9          A.      The COVID-19 Pandemic Disrupts the 2020 Census

               10             156.    On January 21, 2020, the Bureau began 2020 Census data-collection in remote

               11      Alaska.

               12             157.    On March 10, 2020, the Bureau began to accept self-responses on its website.

               13             158.    Shortly thereafter, many parts of the nation rapidly began to shut down due to the

               14      COVID-19 pandemic.

               15             159.    The Census Bureau quickly concluded that it could not continue to engage in

               16      operations safely. On March 18, 2020, the Bureau announced that it would suspend all field

               17      operations for two weeks in order to “help protect the health and safety of the American public.”

               18      Press Release, U.S. Census Bureau, U.S. Census Bureau Director Steven Dillingham on

               19      Operational Updates (Mar. 18, 2020), https://www.census.gov/newsroom/press-

               20      releases/2020/operational-update.html.

               21             160.    On March 28, 2020, the Bureau announced yet another two-week suspension until

               22      April 15, 2020, as the coronavirus pandemic made it impossible to engage in operations.

               23             161.    The suspension disrupted several field operations, including Update/Leave

               24      method, the Service Based Enumeration counting people experiencing homelessness, and the

               25      Group Quarters Enumeration counting people living in group housing.

               26             162.    In addition, the Bureau halted all hiring and training of the hundreds of thousands

               27      of enumerators it needs to conduct Non-Response Follow Up. This included halting any and all

               28      background checks and fingerprinting of enumerators that were conditionally hired at that time.
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                   1          163.    The Bureau also decreased office staff at regional centers responsible for

                   2   processing mail-in self-response forms and at the Bureau’s call centers.

                   3      B. Changes to the Final Operational Plan in the COVID-19 Plan

                   4          164.    On April 13, 2020, the Bureau issued an adjustment to its Final Operational Plan

                   5   to account for the long-term impact of the COVID-19 pandemic. The new plan included a

                   6   shifted timeline for data-collection and data-processing operations that corresponded with the

                   7   delays in operations that the pandemic has caused (the “COVID-19 Plan”).

                   8          165.    Adjustments to plans approved by the Office of Management and Budget under

                   9   the Paperwork Reduction Act must be re-submitted for approval. 44 U.S.C. § 3507(h)(3). The

               10      Census Bureau submitted the COVID-19 Plan to the Office of Management and Budget on

               11      April 30, 2020. The changes were approved on May 11, 2020.

               12             166.    The COVID-19 Plan was designed to “[e]nsure a complete and accurate count of

               13      all communities,” “[p]rotect the health and safety of the American public and Census Bureau

               14      employees,” and “[i]mplement guidance from federal, state, and local authorities regarding

               15      COVID-19.” Press Release, U.S. Census Bureau, 2020 Census Operational Adjustments Due to

               16      COVID-19 Fact Sheet (Apr. 27, 2020).

               17             167.    The COVID-19 Plan reflected the conclusions of various experts for how best to

               18      proceed with completing an accurate count during the current pandemic. These experts include

               19      survey methodologists, statisticians, demographers, geographers, linguists, and mathematicians.

               20             168.    Under the COVID-19 Plan, the Bureau suspended 2020 Census field operations

               21      for several months, including those operations that were designed to ensure a full count of

               22      traditionally undercounted communities.

               23             169.    The COVID-19 Plan provided that the Bureau would start the nationwide Non-

               24      Response Follow Up operation on August 11, 2020, and continue the door-knocking process

               25      through October 31, 2020.

               26             170.    Thus, the COVID-19 Plan delayed the start of most door-knocking by three

               27      months while maintaining the same amount of time spent undertaking the process—

               28      approximately eleven and a half weeks—as the Final Operational Plan had required.
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                   1           171.   Under the COVID-19 Plan, the Bureau also delayed the start of other operations

                   2   that enumerate traditionally undercounted populations, including the enumeration of the

                   3   country’s homeless population, which the Bureau shifted from March 30, 2020 to September 22,

                   4   2020.

                   5           172.   And the COVID-19 Plan permitted households to submit self-response data to the

                   6   Bureau until October 31, 2020, extending the deadline under which private persons were able to

                   7   submit their responses to be counted by more than one month.

                   8           173.   The Bureau also granted itself one additional month to process data under its

                   9   COVID-19 Plan, extending the data-processing leg of its operations to nine months given the

               10      pandemic. Under this plan, the Bureau would have up to six months to process the data for the

               11      apportionment count (between October 31, 2020 and April 30, 2021) and three months to process

               12      the data for redistricting (between April 30, 2021 and July 31, 2021).

               13              174.   The Bureau’s timelines for implementing the COVID-19 Plan reflect a

               14      scientifically informed understanding of the time necessary to appropriately and fully complete

               15      its operations and generate an accurate count.

               16         C. Expert and Stakeholder Response to the COVID-19 Plan

               17              175.   The Census Bureau solicited feedback on the COVID-19 Plan from relevant area

               18      experts and interested stakeholders, including state and local governments and national and

               19      community-based non-profit partners.

               20              176.   For instance, four former Census Bureau Directors—who served under both

               21      Democratic and Republican administrations—issued a statement saying that they had “discussed

               22      these operational and schedule adjustments with senior career leadership at the Census Bureau.”

               23      Press Release, Vincent Barabba et al., Statement by Former U.S. Census Bureau Directors (Apr.

               24      14, 2020), https://www.documentcloud.org/documents/6838166-Statement-by-Former-Census-

               25      Bureau-Directors-04.html.

               26              177.   These four former Census Bureau Directors further asserted: “Based on (1) our

               27      extensive experience in planning, executing, and often adjusting operations of previous decennial

               28      censuses, and (2) our firm conclusion that the extension of the field operations reflect careful
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                   1   analysis by the technical, scientific, and operational staff at the Census Bureau, we support the

                   2   decision and urge Congress to act in concert with it.” Press Release, Vincent Barabba et al.,

                   3   Statement by Former U.S. Census Bureau Directors (Apr. 14, 2020),

                   4   https://www.documentcloud.org/documents/6838166-Statement-by-Former-Census-Bureau-

                   5   Directors-04.html.

                   6           178.    Prominent civil-rights groups endorsed the COVID-19 Plan. Vanita Gupta,

                   7   President and CEO of The Leadership Conference on Civil and Human Rights and The

                   8   Leadership Conference Education Fund, stated that her organization “support[ed] the Census

                   9   Bureau’s updated timeline.” Press Release, Leadership Conference Education Fund, Census

               10      Timeline Must Protect Health, Ensure Fair Count (Apr. 13, 2020),

               11      https://civilrights.org/edfund/2020/04/13/census-timeline-must-protect-health-ensure-fair-count/.

               12          D. Implementation of the COVID-19 Plan

               13              179.    When announcing the COVID-19 Plan, Secretary Ross and Director Dillingham

               14      issued a statement indicating that the Bureau requested that Congress extend by 120 days the

               15      December 31, 2020 statutory deadline for reporting the state-population totals to the President

               16      for purposes of calculating the state apportionments, and extend by 120 days the March 30, 2021

               17      statutory deadline for delivering redistricting data to the states.

               18              180.    That same day, President Trump suggested this request was unnecessary, stating:

               19              181.    “I don’t know that you even have to ask them. This is called an act of God. This

               20      is called a situation that has to be. They have to give in. I think 120 days isn’t nearly enough.”

               21      Hansi Lo Wang, Trump Officials Ask to Delay Census Data for Voting Districts, House Seats,

               22      NPR (Apr. 13, 2020), https://www.npr.org/2020/04/13/833546675/trump-officials-ask-to-delay-

               23      census-data-for-voting-districts-house-seats.

               24              182.    Indeed, the Census Bureau did not wait for Congress to act before beginning

               25      implementation of the COVID-19 Plan. And the Bureau continued implementation of the

               26      COVID-19 Plan for over three months through the end of July 2020.

               27              183.    During the entirety of this period of time, the Bureau implemented the COVID-19

               28      Plan and did not indicate any concern, or act in a manner indicating any concern, that Congress
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                   1   had not passed an extension of the December 31, 2020 deadline. Nor did the Bureau change any

                   2   of its processes, or put in place any alternative plans, should Congress not act.

                   3           184.   In all respects, the Bureau acted as if the COVID-19 plan was not contingent in

                   4   any respect on Congress acting. Instead, the Bureau itself recognized that it would be impossible

                   5   to fulfil its constitutional and statutory duties to produce fair and accurate apportionment

                   6   numbers to the President by December 31, 2020, and simply implemented the COVID-19 Plan

                   7   and its timelines.

                   8           185.   For instance, on May 27, 2020, Tim Olson, head of field operations for the 2020

                   9   Census, stated during a May 26, 2020 webinar organized by the National Congress of American

               10      Indians that, “[w]e have passed the point where we could even meet the current legislative

               11      requirement of December 31st. We can’t do that anymore.” Nat’l Conf. of Am. Indians, 2020

               12      Census Webinar: American Indian/Alaska Native, YouTube (May 26, 2020),

               13      https://www.youtube.com/watch?v=F6IyJMtDDgY&feature=youtu.be&t=4689.

               14              186.   Similarly, on July 8, 2020, Al Fontenot, Jr., Associate Director for Decennial

               15      Census Programs and a top Census Bureau official, affirmed that the Bureau is “past the window

               16      of being able to get” accurate counts to the President by December 31, 2020. U.S. Census

               17      Bureau, Operational Press Briefing – 2020 Census Update at 21 (July 8, 2020),

               18      https://www.census.gov/content/dam/Census/newsroom/press-kits/2020/news-briefing-program-

               19      transcript-july8.pdf.

               20              187.   In line with the Bureau’s full implementation of the COVID-19 plan, Bureau field

               21      operations remained suspended through May 2020, and the Bureau only began re-opening a few

               22      limited operations, such as the Update Leave method, on a phased basis through mid-June 2020,

               23      over two months after the operation was originally planned to occur in the Final Operational

               24      Plan.

               25              188.   The Bureau did not undertake any Non-Response Follow Up operations in most

               26      of the country between May 13, 2020 and July 31, 2020, the timeframe originally set out in the

               27      Final Operational Plan.

               28              189.   Instead, while the Bureau “soft-launched” door-knocking in select regions of the
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                   1   country in mid-July 2020, the COVID-19 Plan did not call for door-knocking across the country

                   2   until August 11, 2020, at the earliest.

                   3          190.    The Bureau ultimately opened six area census offices for Non-Response Follow

                   4   Up on July 16, 2020, six more on July 23, 2020, thirty-five on July 30, 2020, and forty additional

                   5   offices on August 6, 2020.

                   6          191.    The remaining 161 stateside offices remained unopened until August 9, 2020,

                   7   including offices in many states and localities with relatively low response rates such as the

                   8   entire southeastern United States, Texas, New Mexico, Arizona, and Southern California.

                   9          192.    All along the Bureau continually communicated to the public, and to important

               10      local partners, including local governments and national and community based non-profit

               11      organizations, that self-responses would be accepted until October 31, 2020, and that Non-

               12      Response Follow Up would continue until at least that date.

               13             193.    Census partners, stakeholders, and state and local governments relied on the new

               14      deadlines set forth in the COVID-19 Plan to redirect their outreach efforts.

               15             194.    For example, Plaintiffs Urban League and BAJI, publicized the October 31, 2020

               16      deadline, letting their constituents, members and local organizations know that households had

               17      until that time to self-respond. Urban League representatives informed coalition partners

               18      participating in the Black Census Roundtable of the new deadlines, and spoke of the deadlines on

               19      webinars and other public events. Officials at BAJI publicized the deadlines at public events,

               20      including webinars in July 2020, and as part of the organization’s social media campaign.

               21             195.    Similarly, officials in City of Los Angeles, Harris County, King County, City of

               22      San Jose, and City of Salinas, publicized the new deadline while conducting 2020 Census

               23      outreach efforts.

               24             196.    These public education efforts were significant because they were directed at the

               25      general public and at local non-profits that do not primarily work on census issues. The latter

               26      often rely on information about the census provided by Plaintiff national non-profits and local

               27      governments when communicating with their constituents. Plaintiffs, by disseminating the

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                   1   October 31, 2020 deadline for nearly three months to the public, were largely successful in

                   2   spreading the understanding that communities had until at least that time to complete the count.

                   3           197.      For example, the City of Los Angeles announced this date on its own social media

                   4   platforms and in a social media toolkit that it developed for partner organizations. Los Angeles

                   5   is deeply concerned that residents had already received information about the October 31, 2020

                   6   self-response date and, as a result, failed to respond before the newly shortened deadline,

                   7   especially given the Bureau’s own minimal efforts at explanation and outreach around the new

                   8   deadline.

                   9   VI.     The Census Bureau’s Sudden Replan

               10              A.        The Announcement of the Replan

               11              198.      On August 3, 2020, at the behest of the Secretary of Commerce, Director

               12      Dillingham abruptly and without explanation abandoned the COVID-19 Plan and announced the

               13      Replan.

               14              199.      The Replan drastically shortened the timelines for multiple operations set out in

               15      the COVID-19 Plan.

               16              200.      The Replan took the form of a short press release on the Census Bureau’s website.

               17      The press release included a statement from Director Dillingham, which did not provide an

               18      explanation for Defendants’ decision to suddenly abandon the COVID-19 Plan that the Bureau

               19      had adopted and implemented for approximately three and a half months. Nor did it provide any

               20      specifics as to why the Bureau no longer believed the timelines called for in the COVID-19 Plan

               21      were necessary to ensure an accurate count.

               22              201.      The statement noted that the Bureau was taking this action at the direction of the

               23      Secretary of Commerce. But the Secretary made no statement explaining his reason for giving

               24      this directive.

               25              202.      The Director’s statement was largely silent on specific adjustments the Bureau

               26      would need to make in order to reengineer its field operations to meet its new, artificially

               27      compressed schedule. The statement included proposals for enumerator “awards” and

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                   1   maximizing enumerators’ phone and tablet usage, but it did not provide any details about

                   2   adjustments to the detailed operations provided in the Final Operational Plan.

                   3              203.   The only adjustments announced under the Replan were severely truncated

                   4   timelines for conducting data-collection and data-processing operations.

                   5              204.   Under the Replan, data-collection was set to end on September 30, 2020, one

                   6   month earlier than contemplated in the Bureau’s COVID-19 Plan.

                   7              205.   While the Bureau’s pre-COVID-19 Final Operational Plan provided 79 days for

                   8   the nationwide door-knocking stage of the census, and the COVID-19 Plan provided 81 days, the

                   9   Replan provided just 52 days of nationwide door-knocking.

               10                 206.   The Replan also cut post-collection data processing for the apportionment report

               11      from up to 5 months as originally provided in the Final Operational Plan, and up to 6 months as

               12      provided in the COVID-19 Plan, to less than 3 months.

               13                 207.   The Replan also shortened the time under which households could self-respond,

               14      providing that self-responses delivered after September 30, 2020—which would have been

               15      timely under the October 31, 2020 deadline then in effect by the Bureau—would no longer be

               16      counted.

               17                 208.   While the Replan required the Bureau to accelerate its operations to complete the

               18      2020 Census by the same deadline contemplated in the Final Operational Plan, it ignored the

               19      multiple-month pause in operations, beginning in mid-March 2020, caused by the initial outbreak

               20      of COVID-19 in the United States.

               21                 209.   The decision to rescind the COVID-19 Plan and adopt the Replan was announced

               22      without consultation with important stakeholders.

               23                 210.   As noted above, as late as July 8, 2020, senior Bureau officials were still publicly

               24      confirming that it was impossible to complete an accurate count by December 31, 2020.

               25                 211.   Internally, senior Bureau official were saying the same thing—but even more

               26      starkly.

               27                 212.   For example, in mid-April 2020, internally the Bureau acknowledged that “[t]he

               28      reality is that we can’t make the [December 31, 2020] deadline as of right now.”
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                   1          213.    Similarly, on or around May 8, 2020, internally the Bureau acknowledged that

                   2   even if they “could snap restart everywhere,” which was not possible due to COVID-19 closure

                   3   in various states, the Bureau still could not meet the statutory deadlines. Likewise, the Bureau

                   4   acknowledged that even if the Bureau could restart operations on May 8, “which it cannot,”

                   5   “apportionment counts could not be delivered until January 31, 2021.”

                   6          214.    On July 21, 2020, the same day President Trump issued his Apportionment

                   7   Exclusion Order, Bureau staff shared internally an “Elevator Speech” summary with the “High

                   8   Level Message” that “[c]urtailing census operations will result in a census that is of unacceptable

                   9   quality.”

               10             215.    On July 23, 2020, Tim Olson, head of field operations for the 2020 Census, said

               11      internally that the Bureau “need[ed] to sound the alarm to realities on the ground,” which showed

               12      that “it is ludicrous to think we can complete 100% of the nation’s data collection earlier than

               13      10/31 and any thinking person who would believe we can deliver apportionment by 12/31 has

               14      either a mental deficiency or a political motivation.”

               15             216.    Just an hour later, the “Elevator Speech” was updated to further highlight that

               16      “[s]hortening the time period to meet the original statutory deadlines for apportionment and

               17      redistricting will result in a census that has fatal data quality flaws that are unacceptable for a

               18      Constitutionally-mandated national activity.”

               19             217.    In addition, until July 30, 2020, just four days before the Bureau announced its

               20      decision to abandon the COVID-19 Plan, the Bureau was informing respondents on its website

               21      that it would engage in Non-Response Follow-Up until October 31, 2020 and that non-

               22      responsive households would have until that date to self-respond. Those references were deleted

               23      from the website on or about July 31, 2020 and were replaced with the shortened timeframe after

               24      the August 3, 2020 announcement.

               25             218.    An official at the Government Accountability Office confirmed that Bureau

               26      officials told his office that they were given “hours rather than days or weeks” to adjust their

               27      plans to finish counting by September 2020. Hansi Lo Wang, ‘Not Enough Time’: Census

               28      Workers Fear Rushing Count Could Botch Results, NPR (Aug. 11, 2020),
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                   1   https://www.npr.org/2020/08/11/901202892/not-enough-time-census-workers-fear-rushing-

                   2   count-could-botch-results.

                   3          219.    While the Census Bureau’s decisions, even during the COVID-19 emergency,

                   4   have often involved consultations with scientific advisory committees, the Committee on

                   5   National Statistics in the National Academies of Science, other external experts and local

                   6   government officials, and the thousands of organizations partnering with the Bureau to conduct

                   7   crucial outreach to historically undercounted communities, no such consultation was made

                   8   before the Bureau announced its abandonment of the COVID-19 Plan.

                   9          220.    Census stakeholders immediately denounced the Replan, including stakeholders

               10      who had endorsed the COVID-19 Plan.

               11             221.    The same four former Census Bureau Directors who endorsed the COVID-19

               12      Plan issued a statement saying that “our expert opinion is that failing to extend the deadlines to

               13      April 30, 2021 will result in seriously incomplete enumerations in many areas across our

               14      country.” Press Release, Former Census Bureau Directors, On the Importance of Extending the

               15      2020 Census Statutory Deadlines to Achieve a Fair and Accurate Enumeration of the United

               16      States (Aug. 4, 2020), https://www.documentcloud.org/documents/7013550-Aug-4-2020-

               17      Statement-By-Former-U-S-Census-Bureau.html.

               18             222.    These four former Census Bureau Directors further asserted: “The Census Bureau

               19      will not be able to carry out the NRFU fully and will be forced to take steps such as fewer in-

               20      person visits and rely instead on the use of administrative records or statistical techniques on a

               21      much larger scale tha[n] in previous census. The end result will be under-representation of those

               22      persons that NRFU was expected to reach and, at even greater rates for traditionally hard-to-

               23      count populations and over-representation of all other populations with potentially extreme

               24      differential undercounts.” Press Release, Former Census Bureau Directors, On the Importance

               25      of Extending the 2020 Census Statutory Deadlines to Achieve a Fair and Accurate Enumeration

               26      of the United States (Aug. 4, 2020), https://www.documentcloud.org/documents/7013550-Aug-

               27      4-2020-Statement-By-Former-U-S-Census-Bureau.html.

               28
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                   1          223.    The President of the American Statistical Association, the world’s largest

                   2   professional organization of statisticians, issued a statement saying “[t]here is no scientific

                   3   rationale to curtail the data-collection period for this constitutionally mandated activity, and the

                   4   premature cessation of census enumeration will produce flawed counts.” Letter from Rob

                   5   Santos, President of the American Statistical Association, to Mitch McConnell, U.S. Senate

                   6   Majority Leader (Apr. 5, 2020), https://www.amstat.org/asa/files/pdfs/POL-

                   7   CensusSenateAugust.pdf.

                   8          224.    Nearly 450 nonpartisan philanthropic organizations who “rely on accurate census

                   9   data to help identify community needs and to prioritize grantmaking” issued a letter to Secretary

               10      Ross and Director Dillingham urging the Bureau to revert to its COVID-19 Plan. Letter from

               11      U.S. Philanthropy Leaders to Wilbur Ross, Secretary of the U.S. Dep’t of Commerce (Aug. 5,

               12      2020), https://funderscommittee.org/wp-content/uploads/2020/08/Letter-Philanthropic-Leaders-

               13      on-Census-Being-Cut-Short-8-5.pdf.

               14             225.    Prominent civil-rights groups condemned the Replan. Vanita Gupta, President

               15      and CEO of The Leadership Conference on Civil and Human Rights and The Leadership

               16      Conference Education Fund, stated that “[c]urtailing operations is an obvious ploy to guarantee

               17      the Census Bureau won’t be able to finish counting millions of people—especially those hit

               18      hardest by the pandemic.” Press Release, Leadership Conference on Civil and Human Rights,

               19      Trump Plans to Sabotage 2020 Census by Cutting Short Operations (July 31, 2020),

               20      https://civilrights.org/2020/07/31/trump-plans-to-sabotage-2020-census-by-cutting-short-

               21      operations/.

               22             226.    And the Census Bureau’s own field workers repeatedly confirmed the

               23      impossibility of this new timeline, explaining that the Replan means that the count—in effect for

               24      the next 10 years—will not be accurate. For example, the Replan caused a census field

               25      supervisor in Florida to respond: “It just doesn’t seem logical to push this with all of these odds

               26      against us. You’re looking at all this and you’re just thinking, ‘Are we working on the same

               27      team?’” “It does not feel like we have the same mission in mind. We’re trying to get a complete

               28      count. I’m not sure everyone on the team has the same mission.” See, e.g., Hansi Lo Wang,
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                   1   ‘Not Enough Time’: Census Workers Fear Rushing Count Could Botch Results, NPR (Aug. 11,

                   2   2020), https://www.npr.org/2020/08/11/901202892/not-enough-time-census-workers-fear-

                   3   rushing-count-could-botch-results. A census field supervisor in California said, “I know for the

                   4   next 10 years, it won’t be an accurate count. I don’t know what we can do about it.” Id.

                   5              B. The Replan Failed to Appropriately Account for Key Factors Affecting the
                                     Data Collection Period
                   6
                              227.    The Replan failed to account for several important factors affecting the 2020
                   7
                       Census Non-Response Follow Up operation. These factors are discussed below as of the time of
                   8
                       the Replan decision and initial weeks of implementation. Section VII below discusses how these
                   9
                       unexamined and unanalyzed problems later led, in practice, to a fundamentally flawed and
               10
                       inaccurate data collection period, in violation of Defendants’ constitutional and statutory
               11
                       obligations.
               12
                              228.    First, the Replan did not adequately account for the large number of households
               13
                       in the Non-Response Follow Up universe.
               14
                              229.    Under the Replan, the Census Bureau had to count approximately the same
               15
                       number of households during Non-Response Follow Up as it anticipated counting in its pre-
               16
                       COVID-19 Final Operational Plan, but with four weeks fewer than provided in that plan to
               17
                       complete the operation. In other words, the Bureau had to complete the same amount of work in
               18
                       just 65% of the time it had originally scheduled to complete that work.
               19
                              230.    As of the beginning of the NRFU period in all regions, over 37% of households
               20
                       nationwide were non-responsive, and several states had even higher percentages of households in
               21
                       the Non-Response Follow Up universe, including New Mexico (46.1%), South Carolina
               22
                       (42.4%), Texas (41.3%), and Georgia (40.8%).
               23
                              231.    While soft-launches of Non-Response Follow Up began in select locations in
               24
                       mid-July 2020, the operation did not begin in any of these states, with large amounts of non-
               25
                       responsive households, until August 9, 2020.
               26
                              232.    Within states, and in particular cities and localities, there were even higher Non-
               27
                       Response Follow Up workloads. For instance, in Plaintiff Harris County, as of August 18
               28
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                   1   enumerators still had to visit over 41% of households. In the City of Los Angeles, over 46% of

                   2   households remained for enumeration as of August 18. The self-response rate in Los Angeles at

                   3   that time was approximately 14 percentage points below the final self-response rate the City

                   4   attained during the 2010 Census. Counting in these jurisdictions also did not begin until

                   5   August 9, 2020.

                   6            233.   Moreover, given the time constraints placed by the Replan, counting was to be

                   7   conducted while these and many other jurisdictions struggled to control a surge in COVID-19

                   8   cases.

                   9            234.   While the Bureau announced on August 11, 2020 that it was “training census

               10      takers to follow up with households by phone” in light of the pandemic, that change in Non-

               11      Response Follow Up operations was not anticipated in the Final Operational Plan. Press

               12      Release, U.S. Census Bureau, Door-to-Door Visits Begin Nationwide for 2020 Census (Aug. 11,

               13      2020), https://www.census.gov/newsroom/press-releases/2020/door-to-door-visits-begin-

               14      nationwide.html.

               15               235.   Given the traditionally low response rates for phone surveys in the wireless era,

               16      following up by phone was unlikely to materially increase response rates.

               17               236.   A recent Bureau survey running in parallel with the 2020 Census demonstrates the

               18      difficulty in obtaining responses via phone or email. This past spring, the Bureau began

               19      conducting a “Household Pulse Survey” to measure household experiences under the COVID-19

               20      pandemic. This survey solicited participation through emails and text messages. Over the first

               21      twelve weeks of this survey, response rates were meager, ranging from 1.3% to 3.8%.

               22               237.   Second, the Replan did not account for the staffing challenges of the Bureau,

               23      many of which are directly related to the ongoing pandemic.

               24               238.   As demonstrated in the soft-launch of NRFU in select locales, the Bureau was

               25      already experiencing staffing shortages and retention problems with enumerators.

               26               239.   In the midst of the ongoing pandemic, prospective enumerators, many of whom

               27      are elderly and at high risk of contracting a severe COVID-19 related illness, were less willing to

               28      engage in the required door-to-door canvassing.
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                   1          240.    Indeed, Tim Olson, head of field operations for the 2020 Census, stated at a

                   2   July 8, 2020 press briefing that “[a]bout a third of our [enumerator] applicants [are] older persons

                   3   considered high risk of the virus.” U.S. Census Bureau, Operational Press Briefing – 2020

                   4   Census Update at 21 (July 8, 2020), https://www.census.gov/content/dam/Census/

                   5   newsroom/press-kits/2020/news-briefing-program-transcript-july8.pdf.

                   6          241.    And Deborah Stempowski, the Census Bureau’s Assistant Director for Decennial

                   7   Programs, noted the Bureau’s difficulty retaining enumerators in early August 2020, confirming

                   8   that potential enumerators were “a little hesitant because of the COVID environment.” Mike

                   9   Schneider, Census Bureau Drop-Outs Complicate Door-Knocking Efforts, Associated Press

               10      (Aug. 8, 2020), https://www.usnews.com/news/us/articles/2020-08-08/census-bureau-drop-outs-

               11      complicate-door-knocking-efforts.

               12             242.    In testimony before Congress on July 28, 2020, Director Dillingham confirmed

               13      that the Bureau believed that “the pandemic is estimated to increase the number of no shows to

               14      training sessions, as well as the number of employees who complete training but decline to show

               15      up for work.” Id.

               16             243.    According to reports from census-operations staff working in the field, these

               17      predictions came to pass. One census field supervisor working in the mid-Atlantic noted that,

               18      given the new rushed timeline and lack of sufficient staff, “[w]e’re just sending bodies out

               19      regardless of whether they’re ready or not.” Hansi Lo Wang, ‘Not Enough Time’: Census

               20      Workers Fear Rushing Count Could Botch Results, NPR (Aug. 11, 2020), https://www.npr.org/

               21      2020/08/11/901202892/not-enough-time-census-workers-fear-rushing-count-could-botch-results.

               22             244.    In addition to enumerator low-count and hesitancy, another source of staffing

               23      issues involved delays in processing background checks on enumerator applicants and in

               24      enumerator onboarding.

               25             245.    A June 2020 GAO report on the 2020 Census delays COVID-19 has caused, and

               26      the risks the pandemic has exacerbated, noted that the Bureau “will have to quickly hire and

               27      onboard sufficient staff to conduct its operations” to reach adequate staffing levels. U.S. Gov’t

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                   1   Accountability Office, COVID-19 Presents Delays and Risks to Census Count (June 2020),

                   2   https://www.gao.gov/assets/710/707456.pdf.

                   3          246.    That same report also noted that, once potential enumerators accept a job offer

                   4   from the Bureau, the new hires “must wait a minimum of 60 days before they can begin training,

                   5   a time period during which they must complete fingerprinting and a background check.” Id.

                   6          247.    Reports from hired enumerators confirm that the Bureau faced these technical

                   7   challenges as well, under the compressed timeline. One hire in Boulder, Colorado noted that he

                   8   lost six potential days of door-knocking because he was unable to complete the Bureau’s online

                   9   training module.

               10             248.    Thus, under the Replan, the Bureau was not able to hire and train sufficient

               11      enumerators.

               12             249.    Even if it were possible for the Bureau to hire all of the enumerators it would

               13      need, the Bureau would also need time and funding to obtain additional equipment for any

               14      additional enumerators it hires beyond its initial estimates of equipment. For example, the

               15      Bureau would need more of the iPhones discussed above that the Bureau specifically contracted

               16      and customized for 2020 Census enumerators.

               17             250.    With fewer enumerators in the field, in addition to training and equipment issues,

               18      the Bureau was unable to ensure that non-responsive households would receive the requisite

               19      number of visits, as contemplated in the Final Operational Plan, and the Bureau would therefore

               20      be required to cut corners and reduce the quality of the count so as to meet the Replan’s

               21      truncated timeline.

               22             251.    Thus, instead of providing additional enumerators, the Bureau’s Replan was likely

               23      to result in a smaller number of enumerators shouldering larger-than-planned workloads.

               24      Increasing workloads for enumerators over a short period of time can result in errors and

               25      inaccuracies in counting but it cannot make up for the time lost to the Replan.

               26             252.    Third, the Replan failed to account for factors relevant to efficient enumeration,

               27      such as the time when enumerators visit households.

               28             253.    For instance, under the Final Operational Plan, enumerators were to visit
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                   1   households at specific times of day and on specific days of the week, depending on when

                   2   residents were likely to answer.

                   3          254.    Under the Replan, enumerators were under pressure to complete their work in a

                   4   tightly constrained timeframe. As a result, ensuring that non-responsive households receive the

                   5   requisite number of enumerator visits at the most opportune times for enumeration became

                   6   exceedingly difficult, if not impossible. Instead, the Replan increases the likelihood that

                   7   households would either receive visits at less opportune times, or simply receive fewer visits

                   8   altogether.

                   9          255.    Fourth, the Replan failed to account for the additional crucial operations that

               10      enumerators had to conduct, as contemplated in the Bureau’s final plans for the 2020 Census.

               11             256.    Apart from visiting households upwards of six times, enumerators also were

               12      supposed to engage in a host of additional quality control activities. As noted above,

               13      enumerators were expected to visit the households of persons that self-responded to the census

               14      online but did not enter the unique identifier provided on census mailers. This “non-ID

               15      processing” is necessary to verify the address information provided by respondents. While this

               16      process only requires a single visit to a household, it nevertheless had to be completed in the

               17      compressed timeline provided for under the Replan.

               18             257.     Similarly, the Bureau had to conduct quality control reinterviews of a sample of

               19      households during Non-Response Follow Up. This operation was designed to deter and detect

               20      enumerator falsification. Detecting such falsifications would be especially important under the

               21      Replan which required individual enumerators to shoulder a heavier workload. The use of

               22      enumerators to conduct these reinterviews would, under the Replan, place additional strain on

               23      the Bureau’s already stretched labor resources.

               24             258.    Cutting any one of these functions would cause errors and inaccuracies to affect

               25      the final 2020 Census data. By reversing the COVID-19 Plan and shortening the timeframe for

               26      conducting Non-Response Follow Up by a month, the Bureau would likely need to make cuts to

               27      one or more of these operations.

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                   1             259.   By reducing the amount of time and resources necessary to perform the kinds of

                   2   quality-control measures that the Bureau originally planned for Non-Response Follow Up, the

                   3   Replan actively dismantled processes that the Bureau had specifically developed over the course

                   4   of time as checks against falsified census responses. The Replan thus threatens census accuracy

                   5   not only by reducing the Bureau’s time to collect data, but also by reducing the Bureau’s time to

                   6   ensure that the data it has collected has been collected properly and truthfully.

                   7             260.   Fifth, the Replan failed to account for the other field operations enumerators need

                   8   to conduct at the same time as they attempt to speed through door-knocking operations.

                   9             261.   Under the Final Operational Plan, the Bureau planned to finish specialized

               10      operations for counting people experiencing homelessness, and people living in group housing in

               11      April 2020, before engaging in nationwide door-knocking. After suspending operations due to

               12      COVID-19, the Bureau moved these operations to September 2020, well-before the October 31,

               13      2020 deadline the Bureau set for completing the Non-Response Follow Up operation.

               14                262.   The new Replan required the Bureau to conduct these specialized operations at

               15      the same time as it was scrambling to complete Non-Response Follow Up. This further stretched

               16      the Bureau’s limited resources and increased the likelihood of missing information.

               17                                                *       *      *

               18                263.   For these and other reasons, Census Bureau officials knew that truncating data

               19      collections meant an accurate census was impossible—and that any census produced would not

               20      be constitutionally sound or fit for purpose. On July 23, for instance, Associate Director

               21      Timothy Olson emphasized the “need to sound the alarm to realities on the ground,” explaining

               22      that “it is ludicrous to think we can complete 100% of the nation’s data collection earlier than

               23      10/31.”

               24                264.   Similarly, Bureau Chief Kathleen Styles explained that “[s]hortening the time

               25      period to meet the original statutory deadlines for apportionment and redistricting data will result

               26      in a census that has fatal data quality flaws that are unacceptable for a Constitutionally-mandated

               27      activity.”

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                   1          265.    They were not alone. Senior Advisor for Decennial Affairs, James Treat wrote

                   2   that “[a]ny effort to concatenate or eliminate processing and review steps to reduce the

                   3   timeframes will significantly reduce the accuracy of the apportionment counts and the

                   4   redistricting data products.”

                   5          266.    And the Bureau’s own documents while devising the Replan warned that all of

                   6   the backend processing changes “represent an abbreviated process that is likely to reduce the

                   7   accuracy of the 2020 Census and threaten the fitness for use.”

                   8      C. The Replan Also Failed to Appropriately Account for Key Factors Affecting the
                             Data Processing Period
                   9
                              267.    The Replan also failed to account for several important factors affecting the 2020
               10
                       Census data processing period, including the additional strain on data-processing operations
               11
                       resulting from the consequences of the COVID-19 pandemic. Again, these factors are discussed
               12
                       below as of the time of the Replan decision. Section VII below discusses Defendants’ more
               13
                       recent contradictory statements and conduct regarding census data processing and its link to data
               14
                       collection, and how these independently demonstrate Defendants’ violation of their
               15
                       constitutional and statutory obligations.
               16
                              268.    Defendants have long recognized that a long data processing period was critical to
               17
                       ensuring the fairness, completeness, and accuracy of the decennial census. The Operational Plan
               18
                       provided 5 months for this complex but vital period—and the COVID-19 Plan expanded that to 6
               19
                       months, given the added complications from the pandemic that the Bureau knew would result in
               20
                       messy data collections that would have to be appropriately processed and understood.
               21
                              269.    For example, following the outbreak of COVID-19 in the United States in mid-
               22
                       March 2020, colleges and universities across the country closed, and students moved out of on-
               23
                       campus and off-campus housing. Similarly, many residents of cities, especially those living in
               24
                       COVID-19 hotspots, moved to locations where the virus was less prevalent. In a recent study,
               25
                       three percent of people surveyed reported that they had moved permanently or temporarily as a
               26
                       result of the pandemic.
               27

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                   1           270.    This significant movement of people coincided with Census Day, April 1, 2020,

                   2   and has and will lead to confusion about what residence should be listed on responses.

                   3           271.    It is likely that the Bureau has received an increased amount of duplicate

                   4   responses, which will, in turn, require more time and Bureau resources to review and correct.

                   5           272.    The Replan also failed to account for the Bureau’s inability to timely obtain and

                   6   process all the administrative-records data crucial for completing an accurate count.

                   7           273.    The Bureau relies heavily but not solely on Title 26 data—that is, tax returns that

                   8   individuals file with the Internal Revenue Service (“IRS”)—for some of the administrative

                   9   records it uses to fill in missing people.

               10              274.    Because this year’s tax filing deadline was July 15, 2020, and the IRS generally

               11      requires three months to transfer Title 26 data to the Census Bureau, the Bureau will not possess

               12      all the Title 26 data it is planning to use until mid-October 2020, at the earliest, and potentially

               13      much later. Once the Bureau has possession of that Title 26 data, it will have to undertake a

               14      time-consuming round of additional review and processing, further delaying its ability to use the

               15      data for its planned purposes. These delays will compel the data-processing phase of 2020

               16      Census operations to proceed more slowly than the Replan contemplates or would allow.

               17              275.    As with truncating data collections, Top Bureau officials were well aware of the

               18      harm that would be caused by curtailing data-processing operations at the time the Replan was

               19      promulgated. As the Bureau explained, “[E]ach and every step in post processing is necessary

               20      and eliminating any step would result in a diminished data product. . . [N]o step can be

               21      eliminated or overlap with another step.”

               22              276.    And the August 3 presentation to Secretary Ross that unveiled the Replan itself

               23      warned that “[a]ll of these activities represent abbreviated processes or eliminated activities that

               24      will reduce the accuracy of the 2020 Census”; that the “compressed review period creates risk for

               25      serious errors not being discovered in the data—thereby significantly decreasing data quality”;

               26      and that those “serious errors” if discovered “may not be fixed” due to lack of time in data

               27      processing. PI Order 55, 58 (quoting DOC_9496; DOC_10285).

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                   1           277.    The Department of Commerce’s Office of Inspector General, too, concluded that

                   2   the “streamlined data processing under the accelerated plan poses a myriad of risks to accuracy

                   3   and completeness.” Department of Commerce Office of Inspector General, “The Acceleration of

                   4   the Census Schedule Increases Risks to a Complete and Accurate 2020 Census.”

                   5           278.    Ultimately, the solution to alleviate each of these problems was articulated in the

                   6   COVID-19 Plan: provide the Bureau’s limited number of enumerators with additional time to

                   7   conduct the data-collection operations necessary to ensure a complete and accurate census, and

                   8   provide Bureau staff with additional time to conduct the data-processing operations necessary to

                   9   ensuring the same. The Replan failed to address these issues, explain why the Bureau's prior

               10      conclusions were incorrect, or explain how cutting in half the time for data processing would not

               11      create fatal flaws in data quality.

               12          D. The Replan Did Not Account for Federal Statistical Guidelines

               13              279.    In replacing the COVID-19 Plan with the Replan, Defendants departed from

               14      federal government statistical standards that promote the accuracy of information collected and

               15      disseminated by the agencies.

               16              280.    Under the Paperwork Reduction Act, the Office of Management and Budget is

               17      responsible for coordinating the federal statistical system, including the development and

               18      implementation of “Governmentwide policies, principles, standards, and guidelines” “concerning

               19      [] statistical collection procedures and methods.” 44 U.S.C. § 3504(e)(3) (A).

               20              281.    The Office of Management and Budget is responsible for issuing guidelines that

               21      provide “procedural guidance to Federal agencies for ensuring and maximizing the quality,

               22      objectivity, utility and integrity of information (including statistical information) disseminated by

               23      Federal agencies.” Consolidated Appropriations Act, FY 2001, Pub. L. No. 106-554, § 515,

               24      114 Stat. 2763 (2000).

               25              282.    One such guideline issued by the Office of Management and Budget provides

               26      specific standards to agencies like the Census Bureau, in ensuring the quality and utility of

               27      federal statistical surveys, such as the decennial census. Office of Mgmt. & Budget, Standards

               28      and Guidelines for Statistical Surveys § 2 (2006).
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                   1           283.    Under these standards, agencies are required to develop “realistic timetable[s]”

                   2   for surveys. Id. § 1.2.

                   3           284.    The Bureau failed to take this basic requirement into account when it decided to

                   4   implement the Replan. The Replan compressed the timeline for counting operations despite

                   5   evidence of staffing shortages and heavier workload. The Replan attempts to accomplish an

                   6   idea—delivery of results by December 31, 2020, half the time previously allotted—that the

                   7   Bureau had already characterized in various ways as “impossible” and “ludicrous” and “mentally

                   8   deficien[t].”

                   9           285.    The standards also require agencies, including the Census Bureau, to “[e]ncourage

               10      respondents to participate to maximize response rates and improve data quality.” Office of

               11      Mgmt. & Budget, Standards and Guidelines for Statistical Surveys § 2.3.2. This requires that the

               12      Census Bureau “[e]nsure that the data collection period is of adequate and reasonable length.”

               13              286.    Again, the Replan did not account for these standards. The Final Operational

               14      Plan and the COVID-19 Plan provided for over eleven weeks of Non-Response Follow Up, and

               15      up to five and six months, respectively, of post-collection data processing for the apportionment

               16      report. The Replan, on the other hand, cut the time allotted for counting by four weeks, without

               17      explaining how it will encourage more efficiency in collecting responses than the plan it

               18      reversed.

               19              287.    The standards also require the Bureau to plan for “an adequate number of contact

               20      attempts” to the respondent and to establish protocols for minimizing enumerator falsification,

               21      including “reinterviewing respondents.” Office of Mgmt. & Budget, Standards and Guidelines

               22      for Statistical Surveys, Directive No. 2, § 2.3.3.

               23              288.    With the Replan significantly cutting the time available to conduct Non-Response

               24      Follow Up, the Bureau had to significantly alter particular Non-Response Follow Up processes.

               25      This included reducing the number of housing unit visits it earlier deemed necessary to

               26      enumerate a non-responsive household, eliminating enumerator reinterviews, and so on. See

               27      Section VII infra. And these conflict with the Bureau’s obligation to abide by federal statistical

               28      standards.
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                   1      E. Plaintiffs Have Spent Time and Money Counteracting Confusion from the Replan

                   2          289.      The new plan to rush completion of the 2020 Census also creates additional

                   3   confusion about census operations at a critical moment in the census-taking process.

                   4          290.      The Census Bureau’s abrupt change will require groups and local governments

                   5   engaging in Get Out the Count campaigns, including Plaintiff localities and Plaintiff

                   6   organizations, to expend resources to correct confusion about the 2020 Census.

                   7          291.      As noted above, Plaintiff organizations and localities engaged in extensive public

                   8   information campaigns that publicized the October 31, 2020 deadline.

                   9          292.      The Replan required Plaintiffs to expend additional resources in order to update

               10      existing public materials, distribute new materials, and engage in more public-facing efforts to

               11      educate the public, their constituents, their members and/or constituents, and local organizations.

               12             293.      For instance, in Harris County, officials ordered a mailing to constituents

               13      informing them that they had until October 31, 2020 to respond to the census. That order

               14      occurred before the August 3, 2020 decision to implement the Replan. In light of the new plan,

               15      the officials were forced to order stickers to cover the reference to October 31, 2020 on the

               16      mailer and to dedicate office staff to spend time affixing those stickers and updating the mailer.

               17      Similarly, Plaintiffs the City of Los Angeles, BAJI, and Urban League had to deal with

               18      advertisements on social media to correct previous communications that referenced the

               19      October 31, 2020 deadline.

               20             294.      Apart from correcting misinterpretations arising from earlier statements Plaintiffs

               21      made in reliance on the Bureau’s COVID-19 Plan, Plaintiffs have also been forced to engage in

               22      more, unanticipated outreach to educate the public about the Census Bureau’s Replan decision,

               23      including developing new plans to reach more households and encourage more census

               24      participation.

               25         F. The Replan Will Ultimately Lead to Low Quality and Inaccurate Data

               26             295.      Ultimately, Defendants’ decision to rush completion of the 2020 Census will

               27      produce a significantly less accurate census than the COVID-19 Plan.

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                   1          296.    By cutting down the time allotted for door-knocking, the Replan will result in

                   2   fewer contact days by enumerators to non-responsive households, and less data collected by

                   3   enumerators about those households.

                   4          297.    The concerns about inaccuracy resulting from shortening time for Non-Response

                   5   Follow Up are real and verified. A GAO review of the 2010 Non-Response Follow Up operation

                   6   determined that local census offices with “higher percentages” of “less complete house-hold

                   7   data” were more likely to have completed their Non-Response Follow Up in 53 days or less as

                   8   compared to those offices that took a longer period of time. U.S. Gov’t Accountability Office,

                   9   2010 Census: Data Collection Operations Were Generally Completed as Planned, but Long-

               10      Standing Challenges Suggest Need for Fundamental Reforms (Dec. 2010),

               11      https://www.gao.gov/new.items/d11193.pdf.

               12             298.    As noted above, after the Bureau exhausts attempts to enumerate households

               13      through methods that render more accurate results, such as self-response and enumerator

               14      interviews, the Bureau turns to less accurate sources of data and statistical methods as a last

               15      resort to fill in missing information.

               16             299.    By curtailing Non-Response Follow Up, the Replan has forced the Bureau to

               17      resort to less accurate methods of data collection, well before the exhaustion of more accurate

               18      methods. Consequently, the Replan has led to the production of lower-quality information.

               19             300.    For instance, under the Final Operational Plan, the Bureau would not consider

               20      low-quality administrative data before conducting the requisite number of contact days for a

               21      particular type of housing unit. By reducing the number of enumerator contact days, the Replan

               22      has led to reliance on these types of lower-quality data sources prior to exhausting the more

               23      accurate methods contemplated in the Final Operational Plan. Consequently, the Replan has led

               24      to more inaccuracies in the data.

               25             301.    Based upon past practices, the Bureau may also use whole-count imputation to

               26      calculate missing household data but to an extent and in ways not used previously. Imputation

               27      involves the Bureau using information from surrounding responsive households to infer the

               28      count and characteristics of a non-responsive household.
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                   1          302.    In the 2010 census, the Bureau imputed approximately 0.3% of households

                   2   nationwide, left over after exhausting its Non-Response Follow Up efforts. Under the time

                   3   constraints of the Replan, the Bureau will need to turn to imputation before exhausting its in-

                   4   person enumeration efforts. One former Census Bureau Director has estimated that, under the

                   5   Replan, the Bureau may end up imputing up to 10% of households. Depending on the quality of

                   6   the data collected—and whether it can appropriately be used to deem a household truly

                   7   enumerated or not—imputation levels may vary, and may end up being significantly higher than

                   8   expected from looking at claimed completion rates alone.

                   9          303.    Since data produced through the Bureau’s current imputation methods are less

               10      accurate than data collected from enumerator interviews, Defendants’ decision to rush

               11      completion of the 2020 Census will result in significantly less accurate total-population data than

               12      would have been produced under the COVID-19 Plan. This decline in accuracy will affect both

               13      the census’s calculations of the total number of people living in the country and the census’s

               14      recording of the characteristics of those people, and such inaccurate data will not meet the

               15      constitutional minimum for conducting the decennial enumeration or satisfy the “strong

               16      constitutional interest in accuracy” of the Census. Utah v. Evans, 536 U.S. 452, 478 (2002).

               17             304.    The Replan will also disrupt the post-collection data processing operations,

               18      described above. As noted by Secretary Ross and Director Dillingham in mid-April 2020,

               19      following Non-Response Follow Up the Bureau engages in “lengthy, thorough and scientifically

               20      rigorous” data processing, which is essential to ensuring an accurate census.

               21             305.    In announcing the new plan to rush the completion of the 2020 Census, Director

               22      Dillingham stated that the Bureau would “streamline” these operations in order to meet the

               23      December 31, 2020 deadline.

               24             306.    While the Director has not specified what this “streamlining” means for post-

               25      collection operations, the bottom line is that the Bureau cannot fully engage in the operations as

               26      contemplated in its Final Operational Plan on the shortened timeframe. As a result, the Bureau

               27      will have to cut or reduce its efforts to review and process collected data to ensure accuracy.

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                   1       G. The Replan Will Lead to Undercounting of Minorities

                   2           307.    The new plan to rush completion of the 2020 Census will exacerbate

                   3   undercounting of Black, Latino, and Native American communities.

                   4           308.    As noted above, Non-Response Follow Up, is specifically designed to ensure that

                   5   traditionally hard-to-count communities, including Black, Latino, and Native American

                   6   communities are fully counted. By cutting Non-Response Follow Up short, the administration is

                   7   disrupting the operation most essential to ensuring an accurate count for these communities.

                   8           309.    For the 2020 Census, Black, Latino and Native American populations make up a

                   9   disproportionate share of the population in tracts with the lowest self-response rates in the United

               10      States. For instance, as of July 23, 2020, one in five residents living in census tracts with the

               11      lowest self-response rates was Black, and one in four was Hispanic, far larger proportions than

               12      Black and Hispanic shares of the general population.

               13              310.    Consequently, Black, Latino, and Native American households made up a

               14      disproportionate share of the Non-Response Follow Up universe.

               15              311.    Given the challenges of the shortened Non-Response Follow Up timeline, Black,

               16      Latino, and Native American households have a high likelihood of being missed, or inaccurately

               17      enumerated through administrative records and imputation. As noted above, these alternative

               18      methods for enumeration will result in lower quality data for these groups.

               19              312.    The problem, however, is even more serious because it replicates and exacerbates

               20      problems the Census Bureau has found in prior censuses and has striven to correct in subsequent

               21      censuses. Data from previous censuses shows that Black, Latino, and Native Americans have

               22      historically been undercounted. Over-reliance on alternative methods of data to enumerate a

               23      disproportionate share of the population in these groups will further exacerbate potential

               24      undercounting in these groups during the 2020 Census.

               25              313.    Accurate data about the size, location, and characteristics of communities of color

               26      is necessary to equitably distribute political power through congressional reapportionment and

               27      redistricting at the state and local levels, enforce civil-rights laws that affect basic needs like

               28
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                   1   housing and employment, and conduct effective research, including on pressing issues like

                   2   public health.

                   3          314.      Truncating Non-Response Follow Up will exacerbate undercounts of

                   4   communities of color in at least two ways: first, by missing members of those communities

                   5   entirely; or, second, by recording their characteristics incorrectly, such that the census results

                   6   will not register them as members of communities of color. In either instance, data regarding

                   7   communities of color will be inaccurate. This inaccuracy then deprives communities of color of

                   8   federal funding, all the material support that flows from federal funding, the protections of the

                   9   law, and political power at the federal, state, and local levels.

               10             315.      This undercounting will be significantly exacerbated by the shortened data-

               11      processing timeline.

               12             316.      All evidence suggests that much of the underlying data collected by Defendants

               13      was collected through administrative records and proxies—and the “quality of the data that the

               14      Census Bureau collects... is degraded by the number of households with no directly-collected

               15      information.” Louis Decl. ¶ 21. Shortening data-processing operations will prevent the Bureau

               16      from finding and fixing these errors, as the Bureau itself has acknowledged. See PI Order 55, 58.

               17             317.      The harms are particularly obvious in the use of imputation. “[T]he statistical

               18      methods that the Census Bureau uses for whole person imputation rely on using information

               19      from the resolved housing units,” so “any undercounts that are in the resolved housing units will

               20      be carried forward and not corrected.” Thompson Decl. ¶ 20. And because imputation will be

               21      accomplished in part based on the use of administrative records, and such records for hard-to-

               22      count populations are generally lower quality, “the imputed values are likely to be less accurate

               23      for hard-to-count groups than for the relatively easy to count.” Louis Decl. ¶ 39.

               24             318.      Relatedly, the “compressed time frame for Quality Control and data processing”

               25      is likely to “contribute to an even larger overcount of the white population” and undercount of

               26      the Hispanic and immigrant population. Hillygus Decl. ¶¶ 20, 37. That is in part because white

               27      households are likely to have much better administrative records (and thus are likely to be

               28      double-counted at multiple addresses), while Hispanics and immigrants have larger household
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                   1   sizes on averages (and are thus likely to be undercounted when imputation is used to estimate

                   2   household sizes). Id. Time and attention are needed to identify and fix these errors when they

                   3   occur. Louis Decl. ¶¶ 22, 25-37. And under the Replan and Defendants’ new announcements,

                   4   that time is not available.

                   5       H. The Replan Has No Legitimate Justification

                   6           319.    In announcing the Replan, Defendants provided no express justification.

                   7   Defendants stated in passing, however, that reporting of apportionment data to the President by

                   8   December 31, 2020 is required by statute. And in this litigation, they have settled on that

                   9   rationale, raising it repeatedly and solely.

               10              320.    But there is “nothing sacred in the due date of the filing [of apportionment data],

               11      especially when the work of the Census Bureau... is incomplete.” Carey v. Klutznick, 637 F. 2d

               12      834, 837 (2d Cir. 1980).

               13              321.    The Supreme Court thus determined that the government can and should

               14      substitute apportionment counts that have already been filed and certified with “newer, more

               15      accurate version[s].” Utah v. Evans, 536 U.S. 452, 462 (2002).

               16              322.    Defendants have also recognized that, in the event of a conflict between the two,

               17      the constitutional requirement of a fair and accurate enumeration, rather than the statutory

               18      deadline, is the controlling legal requirement. With the COVID-19 pandemic threatening the

               19      health and safety of communities across the country, Defendants adjusted 2020 Census

               20      operations in the COVID-19 Plan, shifting the timeline by several months. Defendants did not

               21      wait for Congress to act to implement this plan, recognizing that the Plan was necessary to

               22      protect enumerators and respondents, and to ensure an accurate count.

               23              323.    Because of those delays, as the Bureau itself recognized, it was no longer possible

               24      for Defendants to produce data by December 31, 2020 that fulfilled their constitutional and

               25      statutory mandate. Specifically, the Bureau could not simultaneously pursue an accurate 2020

               26      Census, and speed through completion of census-taking in order to report numbers to the

               27      President by the end of the year.

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                   1          324.    Several senior officials charged with actually conducting the 2020 Census

                   2   confirmed the impossibility of this task throughout the summer, including approximately four

                   3   weeks before Defendants’ abruptly announced their decision to adopt the Replan.

                   4          325.    The Census Bureau thus never stated, neither publicly nor internally, that the

                   5   statutory deadline was sacrosanct and compelled the Replan. No one at the Census Bureau ever

                   6   stated that a statutory deadline compelled their submission of census counts that they knew were

                   7   incomplete, inaccurate, unconstitutional, or unfit for purpose.

                   8          326.    The statutory deadline at issue is not mandated by the Constitution. Taking the

                   9   modest additional time necessary to ensure an accurate census, should not prevent a timely

               10      reapportionment, as elections for congressional seats impacted by reapportionment will not occur

               11      until 2022.

               12             327.    Ultimately, Defendants cannot sacrifice their mandatory constitutional obligation

               13      to make decisions reasonably related to producing an accurate count in order to claim,

               14      pretextually, that they must comply with a pro forma statutory deadline no matter what—and no

               15      matter what product they deliver. Congress clearly could not, for instance, satisfy its

               16      constitutional obligations by providing the Census Bureau with a single week in which to

               17      conduct the census. Strictly adhering to the December 31, 2020 deadline, as applied in

               18      extraordinary circumstances of the ongoing pandemic, would be equally unconstitutional.

               19         I. Implementation of the Apportionment Exclusion Order

               20             328.    The Replan cannot be justified on the basis of artificial statutory deadlines.

               21      Instead, the timing of the abandonment and internal documents strongly suggest that the decision

               22      was influenced by a desire to implement the President’s Executive Memorandum excluding

               23      undocumented immigrants from the apportionment count, thereby undercutting the contribution

               24      of communities of color to the calculations for equal representation for purposes of congressional

               25      apportionment (the “Apportionment Exclusion Order”).

               26             329.    In late June 2020, the White House took the unprecedented step of adding two

               27      political appointees to Census Bureau staff with unspecified job duties. Neither appointee had an

               28      expertise in statistics, and both had a demonstrated history of partisan activity. These unusual
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                   1   appointees had previously engaged with the Census Bureau on questions about changing

                   2   operations and methodology.

                   3           330.   In mid-July 2020, White House officials reportedly asked congressional

                   4   appropriators to include $1 billion in the next coronavirus stimulus bill for the purpose of

                   5   completing the 2020 Census by the December 31, 2020 deadline.

                   6           331.   This abrupt change in policy coincided with and was motivated by the President’s

                   7   July 21, 2020 issuance of the unconstitutional Apportionment Exclusion Order declaring that it is

                   8   the policy of the United States to remove undocumented persons from the apportionment count,

                   9   and requiring the Secretary of Commerce to produce estimates of the number of undocumented

               10      persons in the United States when reporting total population counts to the President. As noted,

               11      the Apportionment Exclusion Order is currently being challenged as unconstitutional and

               12      unlawful in a number of lawsuits filed in jurisdictions around the country, including in this

               13      District.

               14              332.   Shortening the census timeline increases the likelihood that, regardless of the

               15      outcome of the November 2020 election, this President will have the opportunity to implement

               16      his Apportionment Exclusion Order. Delaying reporting until spring—as the COVID-19 Plan

               17      issued by the Census Bureau and Department of Commerce previously did—leaves open the

               18      possibility that the President will no longer be in office when data is provided, and thus will be

               19      unable to effectuate the Apportionment Exclusion Order.

               20              333.   Defendants did not justify their sudden, unexplained reversal of position with any

               21      evidence that Bureau officials had been wrong in stating, repeatedly, that it would be impossible

               22      to produce accurate counts by December 31, 2020. There is also no evidence that the decision to

               23      cut short counting operations was driven by the scientifically based judgment of Bureau

               24      personnel or external experts.

               25              334.   To the extent that Defendants’ are motivated by a desire to implement the

               26      President’s Apportionment Exclusion Order, that motivation is improper. It bears no reasonable

               27      relationship to the achievement of a fair and accurate census, and, under the circumstances

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                   1   currently facing the count, implementing the Apportionment Exclusion Order will undermine

                   2   that goal.

                   3           335.   Moreover, that Memorandum is just the latest attempt by the President and

                   4   Secretary Ross to manipulate the census along racial and ethnic lines. Beginning in 2017,

                   5   Secretary Ross attempted to add an untested citizenship question to the 2020 Census, claiming

                   6   that the question was necessary to better enforce the Voting Rights Act. In reality, the

                   7   administration was seeking block-level citizenship data so states could draw district lines in a

                   8   manner that would disadvantage Black and Latino communities.

                   9           336.   Defendant Ross’s decision was litigated, and enjoined by three district courts.

               10      One of those cases ultimately ended up before the Supreme Court. There the Court found that

               11      Defendant Ross’s stated Voting Rights Act rationale to support the addition of a citizenship

               12      question to the 2020 Census was “contrived” and vacated Defendant Ross’s decision. Dep’t of

               13      Commerce v. New York, 139 S. Ct. 2551, 2575-76 (2019).

               14              337.   On July 5, 2019, following the Supreme Court’s decision, President Trump

               15      confirmed the real rationale—and fully justified the Supreme Court’s holding that the

               16      administration’s rationale for this census decision was pretextual—when he stated that the

               17      administration sought a citizenship question, not to enforce the Voting Rights Act, but rather “for

               18      districting” and “for appropriations.” Remarks by President Trump Before Marine One

               19      Departure (July 5, 2019), https://www.whitehouse.gov/briefings-statements/remarks-president-

               20      trump-marine-one-departure-51/.

               21              338.   Indeed, further evidence that Defendants’ actions were pretextual arose from files

               22      of a prominent redistricting strategist, Thomas Hofeller. In 2015, Hofeller prepared a study titled

               23      “The Use of Citizen Voting Age Population in Redistricting.” In the study, Hofeller

               24      recommended adding a citizenship question to the census so that states could use citizen voting-

               25      age population rather than total population to redistrict. This change in the redistricting base, in

               26      Hofeller’s words, would be advantageous to “Non-Hispanic Whites” and would undercut the

               27      political power of Hispanics.

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                   1          339.    It was later revealed that Hofeller was involved in drafting portions of the

                   2   memorandum from the Department of Justice to Defendant Commerce seeking addition of a

                   3   citizenship question on the 2020 Census, including sections relating to the pretextual reason for

                   4   requesting the question. See Ex. 8 to NYIC Pls.’ Mot. for Sanctions at 124-31, New York v. U.S.

                   5   Dep’t of Commerce, No. 1:18-cv-2921-JMF (S.D.N.Y. July 16, 2019), ECF No. 635-1; Defs.’

                   6   Opp. to Letter Mot. to Compel at 3, New York v. U.S. Dep’t of Commerce, No. 1:18-cv-2921-

                   7   JMF (S.D.N.Y. Oct. 30, 2018), ECF No. 451.

                   8          340.    Shortly after the Supreme Court’s decision, President Trump issued an executive

                   9   order, demanding executive agencies provide the Census Bureau with administrative records

               10      sufficient to allow the Bureau to determine “the number of citizens and noncitizens in the

               11      country.” Exec. Order No. 13,880, § 1, 84 Fed. Reg. 33,821, 33,821 (July 16, 2019). The

               12      Executive Order explicitly states that the reason this data is necessary is to design “legislative

               13      districts based on the population of voter-eligible citizens,” instead of total population. Id. at

               14      33,823-84.

               15             341.    In light of that history, the Apportionment Exclusion Order, and the near-

               16      contemporaneous decision to cut counting operations short, represent yet another attempt by the

               17      administration to manipulate the 2020 Census and potentially undercut the political power of

               18      communities of color. Defendants cannot rely on this memorandum as justification to support

               19      their decision to undermine the accuracy of the census.

               20      VII.   Defendants’ Post-Replan Conduct and the Effects of the Replan to Date Show That
                              the Replan and the Numbers It Will Produce are Flawed and Unconstitutional
               21

               22             342.    For all the reasons set forth above, the Replan was constitutionally and statutorily

               23      flawed when announced. The passage of time and real-world developments since the initial

               24      filing of this lawsuit now provide further support that the Replan is unlawful.

               25
                              343.    As stated, on August 14, 2020, Secretary Ross made various public assertions
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                       about the quality and processes of the Replan that were not true at the time, and have been shown
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                       to be definitively not true over time, including:
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                   1                “The 2020 Census…is on its way to delivering a successful count
                                      in every community across the nation”
                   2
                                    The “updated plan to complete data collection by September 30,
                   3                 2020…increases the number of hours worked per week to
                                     accomplish the same amount of work in a shorter time period and
                   4                 meet the statutory deadline, without sacrificing quality.”
                   5
                                    “Under this plan, the Census Bureau will meet or exceed the
                   6                  standard of data collection set in previous decennial censuses”

                   7                “So, while the critics have said this plan is being ‘cut-off’ too soon,
                                      in reality, it has been strengthened.”
                   8

                   9                “This week we fully engage the 2020 census’s important non-
                                      response follow-up operation, where census-takers go door-to-
               10                     door to obtain responses from the just over 50 million households
                                      who have not yet responded.”
               11

               12             344.    The falsity of some of the preceding statements was demonstrated by an internal
               13      document that was revealed only later: the August 3 “Replan” presentation that was provided to
               14      the public by Congress on September 2, 2020. AR DOC_10275. In the presentation, and in
               15      other materials later disclosed, Defendants made clear that the Replan had in fact lowered their
               16      standards for data collection and sought to gain time by cutting corners. Among other things,
               17      Defendants (i) significantly reduced the number of contact attempts or visits required in various
               18      situations; (ii) increased reliance on non-contact methods such as enumeration through
               19      administrative records; (iii) eliminated the random re-interview process (an important part of
               20      previous censuses); and (iv) changed the nature of the “count” information collected by
               21      enumerators, removing the requirement that demographic information be collected and allowing
               22      “population count” information alone in wider circumstances. The Bureau believed that these
               23      steps would reduce the NRFU workload of ~64M cases by 8.5 million cases.
               24             345.    In addition, Defendants’ post-Replan conduct, and the real-world effects of the
               25      Replan, would show that these mechanisms and others were in fact used in the data collection
               26      period, leading to a flawed set of numbers that, as of October 16, Defendants plan to start using
               27      in the data processing period.
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                   1          346.    Notwithstanding all this, Defendants have claimed publicly, to this Court, to the

                   2   Ninth Circuit, and to the Supreme Court that by reaching a 99% completion rate nationwide (and

                   3   as of October 15, in every state), Defendants have obtained a data collection count that is as good

                   4   as prior censuses, and sufficient.

                   5          347.    This assertion, just like Secretary Ross’s assertions of August 14, is incorrect, for

                   6   each of the following reasons discussed in detail below.

                   7          348.    First, real world developments have in fact shown that data collection was

                   8   nowhere near adequate as of (1) September 11, when data collection operations became eligible

                   9   nationwide for closeout, under the Replan, or (2) September 30, when data collection was to

               10      have fully ended under the Replan,. But for this Court’s TRO and preliminary injunction, the

               11      Replan would have had catastrophic effects on the 2020 decennial census.

               12             349.    Second, the data shows that Defendants had no ability, in the context and

               13      circumstances of the last few months, to have reached completion rates of 99% in every state

               14      absent a massive shift in their internal metrics and processes. Accordingly, the 99%-in-every-

               15      state number they tout cannot justify the Replan.

               16             350.    Third, the metrics and numbers that Defendants have provided to date, carefully

               17      analyzed, demonstrate that this level of claimed completion is misleading and nothing like the

               18      completion metrics obtained by prior censuses. Properly understood, these numbers show that

               19      Plaintiffs’ concerns about the Replan’s deleterious and unlawful effects have, in fact, been borne

               20      out.

               21             A.      Defendants’ Plan to Start Winding Down Data Collections by September 11,
                                      and End on September 30 Per the Replan Would Have Had Catastrophic
               22                     and Unprecedented Effects on the Census if Not Preliminarily Enjoined
                              351.    Defendants failed to reach a complete and accurate census data collection count
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                       by the deadlines set forth by the Replan—or come anywhere close. Indeed, it has only been this
               24
                       litigation—and more, specifically, this Court’s initial orders on preliminary relief—that
               25
                       prevented a full and catastrophic failure of the 2020 data collection period.
               26
                              352.    Defendants repeatedly stated publicly and to this Court, including via sworn
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                       testimony, that under the Replan they would “complete data collection by
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                   1   September 30…without sacrificing quality.” Ross. Op-Ed. And when Defendants opposed

                   2   Plaintiffs’ request for a TRO in this case, they claimed that a TRO was not necessary because

                   3   Defendants were on track to reach an accurate census, with completion rates of 99% in every

                   4   state by September 30.

                   5          353.    As an initial matter, reaching 99% completion in every state is not the sole

                   6   “accuracy” goal of the census. The goal is to count every person once, in the right place—and

                   7   that means, in particular, fully enumerating hard-to count populations that have been historically

                   8   underrepresented in past censuses.

                   9          354.    But even so, the Replan utterly failed to meet this numerical statewide

               10      “completion” goal, with respect to two of its key dates: its September 11 date to start closeout

               11      procedures regardless of completion rate, and its September 30 date to end all data collection.

               12             September 11 Wind-Down Date

               13             355.    In the September 5, 2020 Fontenot Declaration, Defendants first revealed that

               14      regional offices could enter the closeout phase on September 11, regardless of completion rate.

               15             356.    This meant that Defendants had the ability to start winding down NRFU

               16      operations in every single CFS area, no matter the completion rate of the CFS, as of

               17      September 11—at the discretion of the regional manager—in order to meet the Replan’s

               18      September 30 NRFU shutdown date.

               19             357.    This in turn would have allowed the CFS areas to engage in a number of tactics

               20      and actions to try and maximize “completions”—including, but not limited to, allowing housing

               21      units in NRFU to be deemed complete and enumerated by “Pop Count” only.

               22             358.    This is important. When counting a housing unit, the Census Bureau attempts to

               23      gather data not just on the total number of people, but on important characteristics, including

               24      race/ethnicity and age.

               25             359.    However, as a last resort, at the very end of the data collection period, the Bureau

               26      will accept an enumeration of just the population count for a housing unit in order to complete

               27      the unit. The Bureau can accept that information from someone in the housing unit or, more

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                   1   likely, from a proxy respondent. The use of “pop count only” has, historically, been extremely

                   2   limited.

                   3          360.    The Bureau has historically made limited use of “pop count only” numbers is

                   4   because of the significant adverse impacts of such a practice. Failure to collect any information

                   5   about a household aside from a count increases the likelihood that characteristic data, such as

                   6   race/ethnicity or age, will have to be imputed—even if the count itself does not. And imputation

                   7   is effectively an educated guess about the housing unit, far less accurate than other forms of

                   8   enumeration. Dkt. 36-3, Hillygus Decl. ¶¶ 36-38; Dkt. 36-2, Thompson Decl. ¶ 20(d).

                   9          361.    Moreover, inaccurate race and ethnicity data can have a deleterious effect on

               10      states’ ability to draw lines that comply with the Voting Rights Act; and inaccurate age data can

               11      disrupt the amount of federal resources states and local school districts receive under important

               12      federal education funding programs.

               13             362.    These issues fall more heavily on hard-to-count groups, who are overrepresented

               14      in the NRFU universe vis-à-vis the entire census address file (MAF). This lays the groundwork

               15      for differential undercounts, including along racial and ethnic lines.

               16             363.    Notwithstanding those concerns, and in furtherance of the September 30

               17      operations shutdown, Defendants had planned to allow every census office in the nation to start

               18      winding down and initiate closeout procedures beginning on September 11—regardless of how

               19      far along they were.

               20             364.    Again, to put the issue in real numbers: as of September 11, over 13.5 million

               21      household units in the nation, or at reasonable assumptions ~25-30 million individuals, had not

               22      been counted. And each would have become subject to early closeout procedures. This

               23      mechanism to obtain a “census lite” for upwards of 30 million individuals (and/or not personally

               24      enumerate them at all) affected every single state. Below are a few examples:

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                   1                 Alabama: ~450,000 HUs uncounted (~1-1.5 million individuals)

                   2                 Arizona: ~500,000 HUs uncounted (~1-1.5 million individuals)

                   3                 California: ~960,000 HUs uncounted (~2-3 million individuals)

                   4                 Florida: ~1,400,000 HUs uncounted (~3-4 million individuals)

                   5                 Georgia: ~800,000 HUs uncounted (~1.5-2.5 million individuals)

                   6                 Illinois: ~330,000 HUs uncounted (~600k - 1 million individuals)

                   7                 Michigan: ~430,000 HUs uncounted (~900k-1.3 million individuals)

                   8                 New York: ~860,000 HUs uncounted (~2-3 million individuals)

                   9                 North Carolina: ~730,000 HUs uncounted (~2-3 million individuals)

               10                    Pennsylvania: ~430,000 HUs uncounted (~1-1.5 million individuals)

               11                    South Carolina: ~415,000 HUs uncounted (~1-1.5 million individuals)

               12                    Texas: ~1,300,000 HUs uncounted (~2.5- million individuals)

               13             365.    This would have been drastically different than the previous censuses. In the

               14      2010 Census, for example, Defendants had reached approximately 99% completion three weeks

               15      before NRFU ended. So on information and belief closeout procedures, including pop-count

               16      only changes, were put in place for at most 1-2 million housing units (or even a few hundred

               17      thousand housing units), compared to the 13.7 million household units Defendants would have

               18      subjected to closeout under the Replan. The following chart is illuminating:

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                   1          366.    A comparison of these numbers, with the Bureau’s own chart setting forth NRFU

                   2   completion in 2010, is stark:

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                              367.    The data also show that Defendants’ claims that they would have reached a 99%
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                       completion rate in every state by the Replan’s new data collection shutdown date of
               19
                       September 30—using a “strengthened” data collection plan that “will meet or exceed the
               20
                       standard of data collection set in previous decennial censuses,” was also not correct. Even
               21
                       assuming that the “completion” metrics being used by Defendants were materially identical to or
               22
                       stronger than the standards used in previous censuses, 16 states plus the District of Columbia
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                       were below the 99% threshold on September 30, and millions of Americans would have been
               24
                       shut out of the count.
               25
                              368.    The overall completion metrics, or even the state-by-state completion metrics,
               26
                       also hide a bigger problem: the differential undercounts, when looking at the local CFS areas.
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                       As Defendants themselves realized, in internal documents from September, numerous CFS areas
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                   1   at that time were far below target. In two Census ACOs (Shreveport, Louisiana and Window

                   2   Rock, Arizona), actual completion rates on September 28th were below 75% even though the

                   3   targeted completion rate was over 95%. Another 22 Census offices reported completion rates of

                   4   under 90% on September 28th compared to a targeted completion rate of over 95%. A review of

                   5   the limited Census Bureau internal documents indicates declining enumerator productivity

                   6   during September, and a deceleration rather than acceleration of the rate at which NRFU could

                   7   be completed, in many of these offices. It also indicates extremely low completion rates in tribal

                   8   lands. Any forced closing by September 30 would have thus resulted in massive undercounts.

                   9   The public, however, would not necessarily have had access to this information—because

               10      contrary to Defendants’ assurances, Defendants had already engaged in, and were planning

               11      further, to shift their metrics and processes so as to mark “complete” housing units with a bare

               12      minimum of work.

               13             B.      Defendants Had No Realistic Ability to Reach A True 99% Completion Rate
                                      in All States—Not By September 30 or Even October 15—So They Altered
               14                     and Weakened Standards and Processes Vital to an Accurate Census
                              369.    Defendants never had a realistic ability to reach true 99% completion rates in
               15
                       every state by September 30 or even October 15—let alone while trying to reach hard-to-count
               16
                       populations—without significant, accuracy-reducing changes to the census’s standards,
               17
                       processes and metrics.
               18
                              370.    To start, a comparison with 2010 is illuminating. The 2010 Census scheduled 10
               19
                       weeks of NRFU to resolve ~47,200,000 million household units. See U.S. Dept. of Commerce,
               20
                       Office of Inspector General, Census 2010: Final Report to Congress (June 2011) at 49. The
               21
                       2020 Census Final Operational Plan scheduled 11.5 weeks of NRFU to resolve ~64,000,000
               22
                       housing units. See Final Operational Plan.
               23
                              371.    Although NRFU caseload completions are not linear on a week to week basis
               24
                       (with the harder cases that remain at the end of NRFU taking longer to complete), the numbers
               25
                       make clear that the Bureau was already planning to be far more efficient in 2020 than in 2010—
               26
                       because it added only 10 days more to handle an additional ~17 million housing units.
               27

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                   1          372.    The Bureau spent a decade making sure it could cover that massive load by

                   2   honing these efficiencies. The advancements it came up with were essential to its ability to

                   3   squeeze an extra 17 million housing units into a period only 1.5 weeks longer than in 2010—but

                   4   those plans left no spare room. This is critical to Defendants’ assertions now. The Operational

                   5   Plan—and the COVID-19 Plan, which built on the Operational Plan and adjusted it to

                   6   appropriately account for the COVID-19 pandemic—had already built in all of the technological

                   7   and process advancements the Bureau was expecting to use during the NRFU period. The

                   8   Bureau conducted numerous tests in 2012, 2013, 2014, 2015, 2016, 2017, 2018, and 2019,

                   9   leading up to the 2020 Census, including these advancements, such as the use of advanced

               10      software, assignment optimization, advancements in review technology (while still providing for

               11      the critical random reinterviews), the use of iPhones instead of paper technology, and more. See,

               12      e.g., Dkt. 37-5 at 31-55.

               13             373.    With all of these advancements and tests, the Bureau projected enumerator

               14      productivity to be around 1.55 resolved cases per hour. See Dkt. 81-1 at ¶ 75; Dkt. 170-2 at ¶ 51

               15      (Feb. 11, 2020), National Association for the Advancement of Colored People v. Bureau of the

               16      Census, No. 8:18-cv-00891-PWG (D. Md.); see also U.S. Census Bureau, Final Census Test

               17      Proves Successful, Sept. 5, 2018,

               18      https://www.census.gov/newsroom/blogs/director/2018/09/final-census-test-proves-

               19      successful.html (describing 2018 end-to-end test and stating, “[p]erhaps most encouraging is that

               20      we have observed a substantial increase in enumerator productivity from adoption of technology

               21      and automation”); U.S. Census Bureau, U.S. Census Bureau Demonstrates Readiness for the

               22      2020 Census, Sept. 5, 2020, https://www.census.gov/newsroom/press-releases/2018/census-

               23      demonstrates-readiness-for-2020-census.html. This was a “substantial increase” over the 1.05

               24      resolved cases per hour during the 2010 Census. U.S. Census Bureau, Final Census Test Proves

               25      Successful, Sept. 5, 2018, https://www.census.gov/newsroom/blogs/director/2018/09/final-

               26      census-test-proves-successful.html. And there was no indication—ever, by anyone—that the

               27      Bureau could squeeze out greater productivity from its enumerators, even using all of this new

               28      technology and software optimization, while still reasonably maintaining accuracy.
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                   1          374.    In order to squeeze in 62 million housing unit enumerations in an already-short

                   2   11.5 week period, the Bureau also closely calculated the number of enumerators it would need,

                   3   based on the projected enumerator per-hour productivity and per-week workload. After a decade

                   4   of study preparing for the 2020 Census, Defendants had initially projected needing around

                   5   260,000 enumerators to perform NRFU operations. See Dkt. 37-15 at 90.

                   6          375.    But as the COVID-19 pandemic began to ramp up in the United States,

                   7   Defendants projected needing to hire more than 300,000 enumerators, depending on enumerator

                   8   performance and self-response rate before NRFU began. See Dkt. 170-2 at ¶¶ 50-51 (Feb. 11,

                   9   2020), National Association for the Advancement of Colored People v. Bureau of the Census,

               10      No. 8:18-cv-00891-PWG (D. Md.). There was no attempt to squeeze additional hours from

               11      enumerators, or attempt to force enumerators to be more productive than the already-heightened

               12      productivity increase of 1.55 resolved cases per hour.

               13             376.    The problem for Defendants, of course, is that they were unable to hire additional

               14      enumerators or train them in time. When NRFU was completely underway by August 11, 2020,

               15      the Bureau still had many tens of thousands fewer enumerators than it had projected, even absent

               16      the COVID-19 pandemic. For example, the Bureau’s total number of temporary workers, which

               17      includes more than just enumerators, totaled only 288,204 during the span of August 9 to

               18      August 15, 2020. U.S. Census Bureau, 2020 Census Paid Temporary Workers,

               19      https://www.census.gov/content/dam/Census/newsroom/press-kits/2020/2020-census-weekly-

               20      hires.pdf. On August 17, 2020, the Office of the Inspector General reported the Bureau had only

               21      220,000 enumerators, and that Bureau officials stated they needed above 300,000 enumerators.

               22      See Dkt. 37-13 at 2. The Bureau, in fact, never reached the 300,000 or more enumerators that

               23      officials admitted they needed. Instead, as Tim Olson, Associate Director for Field Operations

               24      explained on July 23, 2020, the numbers at the beginning of NRFU showed “the awful deploy

               25      rate” of enumerators, as well as an “almost debilitating higher quit rate” than past censuses. AR

               26      DOC_0007737.

               27             377.    Instead, enumerator productivity rates somehow started to skyrocket. On

               28      September 1, 2020, Mr. Fontenot reported that despite the shortfall in the number of necessary
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                   1   enumerators, the progress levels indicated Defendants would “nonetheless be able to complete

                   2   NRFU before September 30.” Dkt. 81-1 at ¶ 74. This was because, despite the numerous tests

                   3   over the previous decade that showed enumerator productivity would be around 1.55 resolved

                   4   cases per hour, enumerators were miraculously resolving 2.32 cases per hour. Id. ¶ 75.

                   5          378.    After a decade of planning, and tests over repeated years using the exact same

                   6   technology and optimizing mechanisms and software, the Bureau had squeezed productivity

                   7   from 1.05 cases/hour to 1.55 cases/hr – an amazing ~53% increase in efficiency. And yet

                   8   somehow, in the space of about a week, Defendants had been able to more than double that gain,

                   9   and in fact increase productivity by 121%, from 1.05 to 2.32 an hour. And they were able to do

               10      so in the face of the ever-present COVID-19 pandemic and attendant restrictions throughout the

               11      country. And they were able to maintain it despite hurricanes and major storms in the South and

               12      East Coast, and wildfires in the West. See Dkt. 266-1 ¶ 17. And according to Secretary Ross, it

               13      was all apparently done by meeting or exceeding the standards of the previous census, and in fact

               14      by strengthening those standards and processes.

               15             379.    Math and human productivity do not work in such fashion. The real answer was

               16      that by September 1, 2020, the Replan had been in effect for nearly a month—along with its

               17      accuracy-slicing alterations to data collections processes. See, e.g., Aug. 3 Presentation, Dkt.

               18      131-7 at 7; AR DOC_0008779. It was these significant alterations—resulting in a massive

               19      decrease in in-person visits and a corresponding increase in the use of administrative records,

               20      proxies, and changed information requirements (i.e., pop-counts), along with more serious

               21      charges of enumerators being told to act improperly and cut corners—that led to the impossible

               22      jump in enumerator productivity.

               23             380.    Dozens of enumerators complained directly-- including to the Court. Through

               24      these complaints and others, Plaintiffs are aware of numerous instances across the country that

               25      demonstrate that in sacrificing accuracy for speed, and rushing toward “completion” rates so as

               26      to forestall and then overturn the preliminary injunction in this case, Defendants cut many

               27      corners and made decisions that do not bear a reasonable relationship to the accomplishment of

               28      an actual enumeration.
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                   1          381.    These corner-cutting operations, as relayed by employees involved, fall into the

                   2   following categories of conduct:

                   3          382.    Dramatically increased use of non-direct enumeration, including telephone

                   4   calls, proxies, and use of administrative records. Dkt. 233 at 106-111. For example, a CFS in

                   5   Southern California reported that after only one attempt, thousands and thousands of households

                   6   are being marked complete in at least Southern California and Southern Texas without any

                   7   enumeration. Whereas other households were receiving as many as 26 actual attempts to close.

                   8   Dkt. 220. As the CFS explained, this was for reasons that a “manager stated” were “political,”

                   9   and no corrective action was taken. Id. at 2. Another census worker corroborated the story,

               10      noting that “multiple Census Field Managers” acknowledged that these cases were not properly

               11      closed. Dkt. 221 at 2.

               12             383.    Assistant Director for Field Operations James Christy of the Bureau explained

               13      that these were normal procedures and that units were closed through use of Administrative

               14      Records, a form of non-direct enumeration. See Dkt. 244-1 ¶¶ 4-6. Yet Bureau employees

               15      above the CFS level agreed that these cases were coded in error, and the Regional Office agreed

               16      that use of administrative records were appropriate for only a portion of these households. See

               17      Dkt. 285.

               18             384.    There are more. According to a CFS in the Baltimore ACO, thousands of cases

               19      were manually marked completed without explanation, and removed from the NRFU workload,

               20      after only one contact attempt. According to CFSs in North Carolina and Massachusetts, many

               21      households were closed out in those states with 0 or 1 contact attempt. In North Carolina, cases

               22      were closed out by improperly identifying addresses as incorrect addresses, and those addresses

               23      were not enumerated. Bureau employees above the CFS level were aware of this, and when

               24      raised by certain CFMs, those CFMs ultimately resigned after failed attempts to have the

               25      situation resolved. In Northern California, in areas hit by wildfires, at least one enumerator was

               26      told to contact the county tax assessor and use the information from property deeds for

               27      enumeration.

               28
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                   1          385.    Such non-direct enumeration methods are less accurate and have a profound

                   2   effect on immigrants and minorities—the hard-to-count populations. See, e.g., Dkt. 36-2 ¶ 22;

                   3   Dkt. 36-3 ¶¶ 23, 38.

                   4          386.    The dramatically increased use of administrative records and proxies—and the

                   5   changed mechanisms and protocols as to when they could be utilized—was not part of the

                   6   Operational Plan or COVID-19 plan, and as discussed below, was far in excess of anything

                   7   considered to be a standard and appropriate part of the data collection period.

                   8          387.    Undue pressure to close cases quickly. There are also numerous reports of

                   9   enumerators being pressured by census field supervisors and census field managers to close

               10      cases as quickly as possible.

               11             388.    A CFS in San Francisco was “verbally instructed to take further accuracy

               12      reducing shortcuts to get the work completed ASAP,” contrary to the Bureau’s own manuals.

               13      Dkt. 222. He also noted other “shortcut processes... communicated orally” outside the normal

               14      channels to get done quickly. Id.

               15             389.    An enumerator in the Spokane District of Washington reported on September 29

               16      that the supervisors were making “a large push” “to complete cases as quickly as possible.” Dkt.

               17      238 at 3. The enumerator reported “grave concerns on accuracy” because enumerators were

               18      being told “to close down remaining cases by whatever means necessary,” likely leading to

               19      “cases prematurely or inaccurately handled.” Id.

               20             390.    Cases were closed early even when those cases could have been directly

               21      enumerated. See Dkt. 316.

               22             391.    An enumerator in Northern California, in areas hit by wildfires, reported a marked

               23      difference in enumeration standards in the three days leading up to September 30, 2020,

               24      specifically that enumerators were told to close cases no matter what and just get a population

               25      count. The enumerator reported being told to just be very vague in the definitions used when

               26      entering information into the app for enumeration.

               27             392.    When enumerators traveled to other locations to enumerate, they were pressured

               28      to close cases as quickly as possible.
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                   1          393.    For example, in North Carolina, at least one traveling enumerator told local

                   2   enumerators that the traveling enumerator was closing 25 cases per hour despite working in a

                   3   rural area where doing more than 2 cases an hour was considered great work. Coincident with

                   4   the use of traveling enumerators, the relevant ACO’s completion rate went up roughly 3% in one

                   5   day, when the area typically struggled to go up 1 or 2% in a day.

                   6          394.    On or around September 30, 2020, in North Carolina, enumerators were told to

                   7   leave a notice of visit for a housing unit they were visiting for the first time during NRFU, and

                   8   told to seek a proxy the same day.

                   9          395.    On or around September 30, 2020, in North Carolina, a CFM placed notes on

               10      every case assigned to enumerators to “complete” the case. According to at least one CFS

               11      working with such enumerators, the instruction caused enumerators to question the ethical

               12      implications of completing cases, and enumerators were feeling extra pressure to complete cases

               13      without actual data.

               14             396.    Instructions such as those identified above suggested to enumerators that they

               15      should falsify data to close cases quickly.

               16             397.    Moreover, the financial incentives to close cases similarly motivated enumerators

               17      to falsify data to close cases quickly in order to collect the monetary awards provided under the

               18      Replan. See, e.g., OIG-20-052-M, OIG Memorandum, The Census Bureau’s Program to Provide

               19      Awards to Nonresponse Followup Enumerators and Field Supervisors May Require Additional

               20      Quality Assurance of Cases to Ensure Data Accuracy (Sept. 28, 2020),

               21      https://www.oig.doc.gov/Pages/2020-Census-Alert-The-Census-Bureaus-Program-to-Provide-

               22      Awards-to-Nonresponse-Followup-Enumerators-and-Field-Supervisors-M.aspx.

               23             398.    Falsification of Data. Defendants’ employees also directed enumerators to

               24      falsify data in order to close cases and so that Defendants could report better than 99%

               25      completion; such instructions were often given only verbally.

               26             399.    Defendants pushed enumerators and supervisors to rush the completion of

               27      enumeration activities by directing CFSs and enumerators to “put population 1 or 2, select male

               28      or female for each and close out all the remaining cases in their list this way.” Dkt. 285 at 7.
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                   1   They were also instructed to enter the rest of the data as “refused” or “don’t know” in the

                   2   enumerator app. Id.

                   3          400.    In North Carolina, on September 30, 2020, on a conference call between CFSs

                   4   and a CFM, the CFSs were directed to tell their enumerators to close cases and mark them as a

                   5   “dangerous address,” regardless of actual status, so that those cases would go to supervisor

                   6   review and the CFM could mark those cases completed without a count.

                   7          401.    In North Carolina, enumerators were given the instruction described in the

                   8   previous paragraph.

                   9          402.    In North Carolina, enumerators were also told to operate as their own proxy and

               10      to guess how many people lived in a housing unit without any input from someone at the house

               11      or someone otherwise familiar with the housing unit.

               12             403.    Enumerators traveling to Alabama were told to close cases by following a set of

               13      instructions that would allow them to put in a fictitious name for a proxy respondent and to close

               14      cases by simply putting in a “1” for number of people living in the household.

               15             404.    An enumerator in Northern California, in areas hit by wildfires, was told that if a

               16      visited house was totally empty, to mark in the app that there was a “refusal” to provide

               17      identifying information, and to simply enter a population count of one for the housing unit.

               18             405.    A CFS in San Francisco was “verbally instructed to take further accuracy

               19      reducing shortcuts to get the work completed ASAP,” contrary to the Bureau’s own manuals.

               20      Dkt. 222. He also noted other “shortcut processes... communicated orally” outside the normal

               21      channels to get done quickly. Id.

               22             406.    In many instances, enumerators were told to perform these falsifying operations

               23      while near the housing unit. On information and belief, this instruction was given because the

               24      Bureau’s enumerator software was recording enumerators’ geographic locations and an

               25      enumeration undertaken too far from the housing unit in question would indicate an potentially

               26      anomaly subject to investigation.

               27             407.    Moreover, it appears that Defendants made no attempts to recount the numerous

               28      households that were closed for enumeration purposes—and contributed to Defendants’ 99%
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                   1   completion rates—through the improper methods of the Replan. This is despite Defendants’

                   2   knowledge that the Replan methods of enumeration were expected to be less accurate than the

                   3   original operational plan. See, e.g., Aug. 3 Presentation, Dkt. 131-7 at 7; AR DOC_0008779.

                   4          408.    Poor Handling of Relocated Populations. Many people were displaced or

                   5   relocated for various reasons during the 2020 Census. The COVID-19 pandemic, hurricanes and

                   6   major storms in the South and East Coast, and wildfires in the West, hampered the Bureau’s

                   7   enumeration efforts. See Dkt. 266-1 ¶ 17.

                   8          409.    For example, many students who normally would have been at locations close to

                   9   college and university campuses returned to their parents’ homes in light of school closures due

               10      to the COVID-19 pandemic. This led to the Bureau undercounting off-campus student

               11      households. See, e.g., OIG-20-044-M, OIG Memorandum re The Census Bureau May Not

               12      Accurately Count College and University Students Living Off-Campus During the 2020 Census

               13      (Aug. 27, 2020), https://www.oig.doc.gov/Pages/2020-Census-Alert-The-Census-Bureau-May-

               14      Not-Accurately-Count-College-and-University-Students-Living-Off-Campus-During-the-2.aspx.

               15      Moreover, the Bureau did not have a plan to use off-campus student data. See id.

               16             410.    As another example, in New York City, many people left their city addresses and

               17      relocated. It was difficult or impossible for enumerators to get into buildings to enumerate.

               18      Even when enumerators were able to get in, housing units were often closed out for max

               19      attempts because no one was home to be enumerated.

               20             411.    As another example, in Northern California, in areas hit by wildfires, an

               21      enumerator reported lack of coordination and planning in trying to enumerate locations subject to

               22      road closures, making it impossible to visit addresses in the region.

               23             C.      Defendant’ 99% Completion Rate Metrics Are Misleading, And True
                                      Metrics Indicate That the Replan Is Leading to A Fatally Flawed and
               24
                                      Inaccurate Census, as Predicted
               25
                              412.    The claimed 99% completion rates as of October 15 are misleading and fail to
               26
                       measure up adequately to past censuses. Defendants’ claim that they had reached completion
               27
                       rates of 99% in every state of the country by October 15—better than previous censuses—is
               28
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                   1   misleading and untrue. There are, instead, glaring differences between the 2020 Census and

                   2   previous censuses. Among other things:

                   3          413.    First, the 99% completion metrics are inflated. Defendants have apparently not

                   4   included additional housing units identified through NRFU in their calculations, thus keeping the

                   5   denominator of their “completion” rate artificially low. Defendants appear to calculate

                   6   completion percentages by using a total housing unit number of ~149 million—yet the Census

                   7   Bureau has previously said that the total number of housing units is ~152 million. If this

                   8   discrepancy were fixed, the rates for the country overall would, on information and belief,

                   9   decrease below 99%.

               10             414.    Second, Defendants’ “completion” rate, as provided on October 21 by Associate

               11      Directors Fontenot and Olson, only relate to occupied housing units and provide no information

               12      about any units marked as vacant or delete. In fact, Defendants have provided no data about the

               13      millions of housing units that are marked vacant or deleted from the registry, or even provided

               14      the overall number of NRFU housing units marked as vacant or deleted. On information and

               15      belief, Plaintiffs estimate that there are approximately 22,300,000 such units.

               16             415.    Third, Defendants’ attempt to limit information about NRFU results appears to be

               17      an effort to convey the image that this year’s NRFU resulted in numbers equivalent to or better

               18      than previous censuses—particularly as to the number of enumerations resolved by in-person

               19      interviews. But in fact:

               20                    Of the total housing units in the nation (from Defendants’ Master
                                      Address File or MAF), which Defendants have stated equal
               21                     ~152,000,000, Defendants have enumerated over a quarter—
                                      approximately 27%— through administrative records or proxies
               22                     only. This is unprecedented in recent census history: over a quarter
                                      of Americans, over 41 million households and anywhere from
               23                     approximately 80 to 100 million people (assuming 2-3 persons per
                                      housing unit), have not been directly spoken to or from in this 2020
               24                     census.
               25                    Of the total housing units in the NRFU process, which Defendants
                                      have stated equal ~64,000,000, Defendants have conducted in-
               26                     person household enumeration of only ~36%, compared to ~47% in
                                      the 2010 Census. If Defendants had just matched the 2010 census, it
               27                     appears that they would have conducted household in-person
                                      enumerations of ~7 million more housing units.
               28
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                   1                  Of the total occupied housing units in the NRFU process, which
                                       on information and belief totals ~41,700,000, Defendants have
                   2                   conducted in-person household enumeration of only ~55%,
                                       compared to ~75% in the 2010 Census. If Defendants had just
                   3                   matched the 2010 census, it appears that they would have conducted
                                       household in-person enumerations of ~8 million more housing units.
                   4                   Additionally, it appears that Defendants enumerated far more
                                       household units (perhaps millions more) via administrative records
                   5                   then even they had previously estimated or considered—and
                                       Defendants have not disclosed how they softened or altered their
                   6                   administrative record protocols and standards to result in such a
                                       significant increase.
                   7
                              416.     Fourth, a stream of Census employees have warned the Court that Defendants’
                   8
                       completion numbers themselves are riddled with potential problems, ranging from enumerators
                   9
                       pressured or told to provide false data or guesswork to enumerations being marked complete on
               10
                       minimal or no visits. And it is impossible to know just how bad the problem is, as Defendants
               11
                       have not (1) provided any information on the numbers or types of in-person visits, (2) provided
               12
                       any information on the specific sorts of administrative records or proxies used, and in what
               13
                       quantity, or (3) provided any information whatsoever at the local CFS area, which would allow
               14
                       the public and Plaintiffs to assess how Defendants’ various efforts at rushing data collections
               15
                       may have led to significant differential undercounts.
               16
                              D.       Further Shortening Data Processing Will Compound The Negative and
               17                      Unlawful Effects of the Replan
               18
                              417.     Throughout the course of this litigation, Defendants made clear—repeatedly,
               19
                       recently, unequivocally, and under oath—that data-processing operations could not be shortened
               20
                       beyond the three months to which they were compressed under the Replan, and data processing
               21
                       must therefore begin no later than October 1.
               22
                              418.     Associate Director Fontenot “swore under penalty of perjury that the Census
               23
                       Bureau could not meet the December 31, 2020 statutory deadline if data collection were to
               24
                       extend past September 30, 2020.” Dkt. 288 at 12; see Sept. 5 Fonenot Decl. (¶ 100); Declaration
               25
                       of Albert E. Fontenot, Jr. ¶ 107, La Union del Pueblo Entero v. Trump (LUPE), No. 19-02710
               26
                       (D. Md.), Dkt. 117-1. And Defendants’ counsel “emphasize[d]” to this Court that “extending the
               27
                       timeline of the count past September 30th would make it impossible for the Bureau to comply
               28      with Section 141’s statutory deadline.” Dkt. 98 (Sept. 8, 2020 Tr. 9:6-9). The reason: “the post
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                   1   processing deadlines for the Replan Schedule are tight, and extending the data collection

                   2   deadline would, of necessity, cause the Census Bureau to fail to be able to process the response

                   3   data in time to meet its statutory obligations.” Dkt. 81-1 ¶ 100. In short, as Associate Director

                   4   Fontenot acknowledged, “[w]e have already compressed the post processing schedule from 5

                   5   months to only 3 months.. . . We simply cannot shorten post processing beyond the already

                   6   shortened 3-month period.” Id.

                   7          419.      After the Court’s preliminary injunction order issued, Defendants changed their

                   8   position and announced a new drop-dead date by which data-processing operations would have

                   9   to begin: October 6. But Defendants were just as unequivocal that they could not stay in the

               10      field a single day past October 5 and still meet the statutory deadline. On September 28, the

               11      Secretary asked top Bureau officials the following: “I would like to make sure that I understood

               12      correctly that your team’s opinion is that if we stay in the field beyond October 5, we would not

               13      be able to meet the statutory deadline of December 31.” Dkt. 256-1. As Defendants told the

               14      Supreme Court, Deputy Director Jarmin’s answer was “that the Bureau must ‘finish field work

               15      on 10/5 if we are to have enough time (assuming all goes well) to finish the processing of the

               16      resident population, federally affiliated overseas and, if requested, unlawful aliens in ICE

               17      Detention Centers by 12/31 [pursuant to the Presidential Memorandum].’” Appellants’ Supp.

               18      Br. 4-5, Trump v. New York, No. 20-366 (citation omitted). Defendants similarly told this Court

               19      that the Bureau “need[s] to conclude field operations by October 5 in order to keep open the

               20      possibility of meeting the deadline Congress set for reporting census figures to the President.”

               21      Dkt. 284 at 4.

               22             420.      Defendants, of course, did not begin data-processing operations on October 6.

               23      Defendants’ statements that that they nonetheless intend to deliver census-based apportionment

               24      numbers by December 31 or shortly thereafter, are therefore extremely troubling, and an

               25      admission that the numbers will be definition be constitutionally and statutorily infirm. As

               26      Defendants’ own statements—and a host of outside experts—make clear, the Bureau cannot

               27      accomplish five months of data processing in ten weeks.

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                   1          421.    Defendants also repeatedly claimed that they were obligated to meet the

                   2   December 31 statutory deadline for reporting apportionment counts to the President. And they

                   3   repeatedly relied on this statutory reporting deadline as the only reason for adopting and

                   4   defending the Replan.

                   5          422.    Defendants’ recent statements, however, suggest that they no longer view the

                   6   December 31 deadline as binding. There are good reasons to think that the new (not yet

                   7   revealed) target date will depend on the results of the upcoming election. If President Trump

                   8   does not win, Plaintiffs believe that the Secretary will ultimately submit his report after the

                   9   December 31 statutory deadline but before January 10—so that this President is able to

               10      implement the Presidential Memorandum and submit that revised apportionment count before he

               11      leaves office. The latest change in position only further confirms that the statutory deadline was

               12      mere pretext. The true motivation for the severely truncated deadlines in the Replan is and has

               13      always been a timeline that gives this President control over the final apportionment numbers.

               14      VIII. Harm to Plaintiffs.

               15             423.    Plaintiffs and Plaintiff non-profits’ members and/or constituents reside in locales

               16      that will suffer harm as a result of Defendants’ decision because that decision is very likely to

               17      cause these locales to be more disproportionately undercounted in the 2020 Census than they

               18      otherwise would have been.

               19             424.    On August 9, 2020, at the beginning of the Non-Response Follow Up operation,

               20      Plaintiff City of Los Angeles, had a response rate of just 53.1%, which was significantly lower

               21      than the 64.5% statewide response rate in California on that same date.

               22             425.    The Urban League, League of Women Voters, and BAJI have affiliates,

               23      constituents, and members in major cities across the United States. This includes cities where

               24      response rates were lower than their corresponding statewide response rates on the first day of

               25      Non-Response Follow Up including San Francisco (61.4%) and Monterey (60.5%) as compared

               26      to California (64.5%), Miami (49.6%) as compared to Florida (60.1%), Philadelphia (52%) as

               27      compared to Pennsylvania (65.5%), Detroit (48.7%) as compared to Michigan (68.9%), and New

               28      York City (54.9%) as compared to New York State (58.9%).
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                   1          426.    Plaintiffs Ellis and Garcia are residents of Houston, Texas. The response rate in

                   2   Houston at the beginning of Non-Response Follow Up was 54%, which was lower than the

                   3   statewide response rate for Texas on that date, 58.2%.

                   4          427.    Defendants inappropriate NRFU machinations discussed above have ensured the

                   5   inadequacy of an actual count.

                   6          428.    As noted above, Defendants’ decision will result in fewer enumerations through

                   7   Non-Response Follow Up, increased reliance on low-quality administrative data, and increased

                   8   imputation. Consequently, Defendants’ decision will result in cities’ with higher rates of non-

                   9   response (1) having less accurate data; and (2) experiencing higher rates of undercounting.

               10             429.    Because these cities have a higher proportion of households in the Non-Response

               11      Follow Up universe than their corresponding states, these cities have a substantially higher

               12      likelihood of being undercounted because of Defendants’ decision than surrounding communities

               13      in their states. These disproportionate undercounts will be exacerbated and reinforced by

               14      inadequate data processing, and will ultimately cause Plaintiffs to suffer both fiscal and

               15      representational harm.

               16         A. Funding Harms

               17             430.    The Replan will result in loss of federal funding for Plaintiffs Harris County, City

               18      of Salinas, and the City of Los Angeles and the communities where members of Plaintiff non-

               19      profits reside, including Miami, Detroit, Philadelphia and New York.

               20             431.    Over 130 programs and 675 billion dollars are allocated to states and localities on

               21      the basis of census-derived information. This includes funding to states for federal transportation

               22      planning purposes, education, and healthcare.

               23             432.    Many important federal programs, including Title I Grants under the Every

               24      Student Succeeds Act, require states to distribute funds to localities on the basis of census-

               25      derived information.

               26             433.    State Education Agencies must allocate Title I Grants, at least in part, on the

               27      number of children aged 5-17 living in poverty in a local education agency’s jurisdiction.

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                   1           434.    Given that members of Plaintiff non-profits reside in cities that are likely to be

                   2   more undercounted under the Replan relative to surrounding communities in their states,

                   3   including San Francisco, Miami, Detroit, Philadelphia, and New York City, Defendants’ decision

                   4   will likely deprive the communities where these members reside of Title I Grant funding they

                   5   would have otherwise received. Similarly, Defendants’ decision places Plaintiffs Ellis and

                   6   Garcia’s community at higher risk of deprivation of Title I Grant funding.

                   7           435.    Several additional federal programs require states to use census-derived

                   8   information to distribute funds directly to cities and counties, based on their share of a relevant

                   9   population. For instance, the Low Income Home Energy Assistance Program, the Workforce

               10      Innovation and Opportunity Act program, and the Community Services Block Grant Program, all

               11      require states to distribute funds to cities and counties, at least in part, on the proportion of a

               12      state’s low-income residents living in those cities and counties. This data is derived from

               13      information collected during the decennial census.

               14              436.    Both Harris County and the City of Los Angeles receive funds under these

               15      programs. Consequently, disproportionate undercounting of Harris County and the City of Los

               16      Angeles, as compared to their states, is likely to result in loss of funds under these and similar

               17      programs.

               18              437.    Several federal funding programs provide funding directly to cities and counties

               19      based on census-derived information. For instance, the Community Development Block Grant

               20      program, and the Emergency Solutions Grant, allocate funding to cities and counties based, at

               21      least in part, on their share of the overall population count relative to other metropolitan areas.

               22              438.    Of cities with over 500,000 people, the City of Los Angeles had the fourth lowest

               23      response rate in the country, just behind Detroit and Philadelphia. Consequently, Los Angeles

               24      will likely lose Community Development Block Grant funds because of Defendants’ decision.

               25              439.    Similarly, members of Plaintiff non-profits live in major metropolitan areas with

               26      some of the lowest response rates in the country, such as Miami, Detroit and Philadelphia.

               27      Defendants’ decision will likely deprive these members’ communities of funding under the

               28      Community Development Block Grant program.
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                   1          440.    Finally, the allocation of federal transportation including the Surface

                   2   Transportation Block Grant Program, and the Metropolitan and Statewide Nonmetropolitan

                   3   Transportation Planning Programs are based on the population of urbanized areas in a state

                   4   compared to those of other states, as determined by the decennial census.

                   5          441.    Plaintiffs Ellis and Garcia regularly drive on highways and roads in Texas.

                   6   Disproportionate undercounting of urbanized areas in Texas during the 2020 Census will result

                   7   in reduced transportation funding for Texas under federal transportation programs.

                   8      B. Representational Harm

                   9          442.    Defendants’ decision will also likely result in representational harm to individual

               10      Plaintiffs and to the members of Plaintiff organizations.

               11             443.    Plaintiffs Ellis and Garcia reside in Houston, Texas. In terms of self-response

               12      rates, Texas ranks 39th in the United States. Approximately four million Texas households are

               13      in the Non-Response Follow Up universe, which is more households than any state other than

               14      California.

               15             444.    Consequently, Defendants’ decision will not only cause a substantial undercount

               16      in Texas, but that undercount will likely be disproportionate as compared to other states. Texas

               17      will likely be deprived of its fair share of representation in the next congressional apportionment.

               18             445.    As a result, Defendants’ decision is likely to result in reduction of voting power

               19      and representation for Plaintiffs Ellis and Garcia, because it will likely cause the loss of a seat in

               20      Texas, and will result in fewer Representatives spread out over the state of Texas.

               21             446.    As for Plaintiff City of Los Angeles, at least one study has predicted that, were

               22      California to lose a congressional seat because of the final census count, that seat is very likely to

               23      come from a district that includes portions of South Los Angeles, thus reducing the city’s

               24      representational delegation.

               25             447.    Defendants’ decision will also cause Plaintiff Ellis and members of Plaintiff non-

               26      profits to experience a loss of intrastate voting power.

               27             448.    By causing disproportionate undercounting of communities in Houston, Detroit,

               28      Philadelphia, and Miami, as compared to their corresponding states, Defendants’ decision will
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                   1   result in drawing of district lines that do not accurately represent the population of the state, and

                   2   disadvantage Plaintiffs Ellis and Garcia, and members of Plaintiff organizations that live in

                   3   undercounted communities.

                   4      C. Inaccurate Data

                   5          449.    Plaintiff local governments will suffer harm from the adverse impact Defendants’

                   6   decision will have the accuracy of population counts produced by the Census Bureau. Plaintiff

                   7   local governments often rely on accurate information collected by the Census Bureau for crucial

                   8   public planning purposes, including planning for how to respond to emergencies.

                   9          450.    For example, local governments often rely on a Social Vulnerability Index to

               10      identify communities that are at high risk during a particular emergency. Government officials

               11      rely on this index to determine where to allocate resources before and during emergencies. A

               12      Social Vulnerability Index use census data to identify specific populations that may be

               13      vulnerable to a particular emergency, including data relating to age, housing density, income

               14      status, and race and ethnicity. Inaccurate census data would make disaster planning and

               15      emergency response more difficult, and could disrupt important public programs.

               16             451.    In Harris County, officials used the Center for Disease Control’s Social

               17      Vulnerability Index to inform decisions about proper distribution of COVID-19 Relief Funds.

               18      The funds were allocated to provide relief to Harris County residents most impacted by the

               19      global pandemic. That Social Vulnerability Index, which was based on census data, was used to

               20      identify census tracts with the most vulnerable residents, and applications from residents from

               21      those tracts were prioritized and given higher chances of acceptance for funds. Without accurate

               22      census data, Harris County would struggle to ensure that crucial relief funds were reaching the

               23      communities most in need of them.

               24             452.    Similarly, King County relies on accurate census data to inform its public-policy

               25      decision making. For instance, the county uses census data to plan public-transit service, and to

               26      ensure priority populations have transit access, and to site public health clinics.

               27             453.    The low-quality data and undercounting that Defendants’ decision will cause will

               28      also harm Plaintiffs. For instance, undercounting of Black, Latino, Native American, and
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                   1   immigrant communities will negatively affect the Urban League, League of Women Voters and

                   2   BAJI by undermining these organizations’ core missions of promoting equal and just laws and

                   3   empowering vulnerable communities through building coalitions and initiating campaigns with

                   4   African Americans and Black immigrants, and fostering racial, economic, and social equality for

                   5   the communities they serve.

                   6      D. Expending Additional Resources

                   7          454.    Plaintiff organizations, the Urban League, the League of Women Voters, and

                   8   BAJI, and Plaintiff local governments, City of San Jose, Harris County, King County, City of

                   9   Salinas, and City of Los Angeles will need to expend additional resources and divert resources

               10      from planned programs and projects in order to address the adverse consequences of Defendants’

               11      decision to abandon the COVID-19 Plan, and implement the Replan.

               12             455.    Plaintiffs’ planned efforts to ensure the effective enumeration of historically

               13      undercounted communities were based on the understanding that the Census Bureau would

               14      implement the Non-Response Follow Up operation contemplated in the Final Operational Plan

               15      and adjusted in the COVID-19 Plan.

               16             456.    The abrupt reversal of the COVID-19 Plan, and the implementation of curtailed

               17      Non-Response Follow Up in the Bureau’s Replan will adversely affect Plaintiffs’ plans.

               18             457.    Plaintiff organizations and local governments will likely need to adjust plans, and

               19      divert resources from other planned activities and programs in order to ensure the communities

               20      they serve are adequately counted. Specifically, Plaintiffs will need to recruit and train staff to

               21      engage in increased and expanded outreach to potential non-responsive households in order to

               22      make up for fewer enumerator visits, or to other aspects of the Non-Response Follow Up

               23      program, such as the reinterview process.

               24             458.    For instance, Plaintiff BAJI is planning significant adjustments to its 2020 Census

               25      outreach plans in light of Defendants’ decision, that include diversion of resources from other

               26      sources, and significant expenditures. In order to engage in effective outreach, BAJI needs

               27      organizing staff dedicated to civic engagement. With Non-Response Follow Up occurring from

               28      August 11, 2020 through October 31, 2020, BAJI anticipated that it could spread its staffing
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                   1   resources over that timeframe to ensure it was meeting its goals within the organization’s budget.

                   2   However, on a shorter timeframe, BAJI needs additional staff on a shorter timeframe, which will

                   3   require adjusting the organization’s budget and priorities for the next several months.

                   4              459.    The adjustment is also challenging for BAJI as the organization caters to

                   5   immigrant communities with a variety of language needs. Increasing staffing on a short

                   6   timeframe poses significant challenges for the organization, because it must locate staff that can

                   7   communicate with the particular community that the organization is targeting for outreach

                   8   efforts.
                                                               CLAIMS FOR RELIEF
                   9

               10                                          FIRST CLAIM FOR RELIEF
                                         Violation of the Enumeration Clause, and Fourteenth Amendment
               11                               (U.S. Const. art. I, § 2; U.S. Const. amend. XIV, § 2)

               12                 460.    Plaintiffs incorporate by reference the allegations set forth in the preceding

               13      paragraphs.

               14                 461.    Under the Enumeration Clause of the U.S. Constitution, Congress, and, by

               15      delegation, the Secretary of Commerce, must conduct an “actual Enumeration” of the population.

               16      This clause requires that decisions relating to census-taking bear “a reasonable relationship to the

               17      accomplishment of an actual enumeration of the population.” Wisconsin v. City of N.Y., 517 U.S.

               18      1, 20 (1996).

               19                 462.    The COVID-19 pandemic severely disrupted the 2020 Census, resulting in

               20      months of suspended operations and significant delays in crucial counting processes. Moreover,

               21      the public-health crisis, which is unabated and appears to be in resurgence, has continued to

               22      impact census operations.

               23                 463.    To navigate this emergency, the Bureau took necessary action to adjust its

               24      operational timelines in the COVID-19 Plan while seeking to maintain the operations and

               25      processes included in the Final Operational Plan that had been designed to help ensure a

               26      complete and accurate count.

               27                 464.    Abruptly and without explanation, on August 3, 2020, Defendants abandoned the

               28      COVID-19 Plan and implemented the Replan. The Replan does not bear “a reasonable

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                   1   relationship to the accomplishment of an actual enumeration of the population.” After delaying

                   2   all operations for months, the Bureau and its staff repeatedly recognized that it was impossible to

                   3   produce counts consistent with their duties to ensure a full, fair, and accurate count by

                   4   December 31, 2020. Indeed, current conditions demonstrate that it is infeasible to obtain a fair

                   5   and accurate count by the end of the year. Nevertheless, the Defendants abandoned their

                   6   constitutionally mandated pursuit of fair and accurate data, in favor of the speed of the Replan,

                   7   and the inaccurate data it will produce.

                   8             465.   Under these circumstances, the decision to curtail crucial 2020 Census operations

                   9   violates the Enumeration Clause of the United States Constitution.

               10                466.   These constitutional violations have caused, are causing, and will continue to

               11      cause harm to Plaintiffs as alleged above, and there is a substantial likelihood that the requested

               12      relief will redress this harm.
                                                      SECOND CLAIM FOR RELIEF
               13                   Violation of Administrative Procedure Act—Arbitrary and Capricious
               14                                           (5 U.S.C. § 706(2)(A))

               15                467.   Plaintiffs incorporate by reference the allegations set forth in the preceding

               16      paragraphs.

               17                468.   The APA, 5 U.S.C. § 706(2), provides that a court shall hold unlawful and set

               18      aside agency action found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

               19      accordance with law. The Replan is final agency action because it marks the consummation of

               20      the agency’s decision-making process, and it is one by which rights or obligations have been

               21      determined, or from which legal consequences will flow. Bennett v. Spear, 520 U.S. 154, 177-78

               22      (1997).

               23                469.   In determining whether an action violates the APA, courts consider whether the

               24      agency examined relevant data and articulated a satisfactory explanation for its decision,

               25      including formulating a rational connection between the facts found and the choice made. Motor

               26      Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

               27      Where an agency wishes to depart from an earlier decision, it must acknowledge that change and

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                   1   any reliance interests its previous actions engendered. See Perez v. Mortg. Bankers Ass’n, 575

                   2   U.S. 92, 105-06 (2015).

                   3             470.   The Bureau spent several years developing its Final Operational Plan for the 2020

                   4   Census. That plan carefully determined the required length of each operation, including the

                   5   appropriate length for data-collection and data-processing. It also included details about the

                   6   implementation of the various operations.

                   7             471.   The COVID-19 pandemic disrupted census operations, and the Bureau responded

                   8   by adjusting its operations in its COVID-19 Plan. That plan involved retaining the details and

                   9   the length of time of various operations laid out in the Final Operational Plan, but shifting the

               10      timeline for counting several months into the future to account for both the necessity of those

               11      operations and the public-health emergency.

               12                472.   The Bureau began implementing the plan, and critical operations were suspended

               13      and delayed through the summer. Bureau officials publicly and expressly recognized that it was

               14      no longer possible to comply with the December 31, 2020 deadline if the Bureau intended to

               15      fulfill its constitutional and statutory obligation of producing reasonably accurate population

               16      counts.

               17                473.   Without explanation and without citing any evidence, Defendants suddenly

               18      changed their position and issued a new plan with shortened timelines. Among other things, that

               19      change conclusively changed the legal rights and obligations of private households, who now

               20      have substantially less time to respond if they wish to be counted in the 2020 Census.

               21      Defendants have provided no evidence to support rescinding the COVID-19 Plan, have failed to

               22      acknowledge or explain their departure from their previous conclusions as to the length of time

               23      necessary for an accurate census, and have cited no evidence that they could obtain accurate

               24      counts on the shortened timeframe. Defendants’ unexplained and unjustifiable reversal is

               25      precisely the sort of arbitrary and capricious agency action that the Administrative Procedure Act

               26      forbids.

               27                474.   Defendants’ decision also fails to account for several factors relevant to the

               28      decision, including the multiple-month long suspension in operations and delay of crucial census
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                   1   operations, the staffing shortages facing the Bureau, the meticulously designed and tested

                   2   technical requirements for effective enumeration included in the Bureau’s Final Operational

                   3   Plan, and the various quality-control measures the Bureau must engage in to ensure that its

                   4   reported data is accurate.

                   5          475.    Consequently, Defendants’ action is arbitrary and capricious.

                   6          476.    This unlawful action has caused, is causing, and will continue to cause harm to

                   7   Plaintiffs as alleged above, and there is a substantial likelihood that the requested relief will

                   8   redress this harm.
                                                        THIRD CLAIM FOR RELIEF
                   9                         Violation of Administrative Procedure Act—Pretext
               10                                             (5 U.S.C. § 706)

               11             477.    Plaintiffs incorporate by reference the allegations set forth in the preceding
               12      paragraphs.
               13             478.    Under the Administrative Procedure Act, agencies are required to disclose the
               14      “genuine justification[] for important decisions.” Dep’t of Commerce, 139 S. Ct. at 2569, 2575-
               15      76. Courts will not accept “contrived reasons” provided by agencies as that would defeat the
               16      purpose of judicial review. Id. at 2576. Moreover, agencies cannot simply avoid providing
               17      reasoning for their decision-making altogether.
               18             479.    Defendants have decided to cut crucial operations in order to produce 2020
               19      Census population results to the President by December 31, 2020. In announcing that decision,
               20      Defendants provided no legitimate justification for abandoning the COVID-19 Plan and
               21      implementing the Replan.
               22             480.    Any attempt by the Defendants to rely on the reporting deadline provided under
               23      the Census Act as justification for their decision is mere pretext. 13 U.S.C § 141(b).
               24             481.    For months, Defendants implemented the COVID-19 Plan, the timeline for which
               25      necessarily assumed the statutory deadlines could not defeat the constitutional duty to conduct an
               26      accurate enumeration, as applied to the extraordinary circumstances at hand. Defendants made
               27      significant adjustments, including months-long delays of census operations, on the assumption
               28      that the Bureau could and would conduct a full and robust count through the end of October 31,
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                   1   2020. Since mid-April 2020, Defendants have expressly and publicly recognized that the Bureau

                   2   could not provide a complete and accurate count by December 31, 2020. And President Trump

                   3   maintained that the statutory deadlines need not be followed.

                   4          482.    Defendants’ reversal of position on the 2020 Census timeline appears driven by

                   5   Defendants’ efforts to ensure implementation of the President’s unconstitutional Apportionment

                   6   Exclusion Order, which attempts to exclude undocumented persons from the apportionment

                   7   count and continues a long-running pattern of racially discriminatory and improperly politically

                   8   motivated conduct of the 2020 Census.

                   9          483.    In light of these considerations, Defendants’ purported justification is pretextual

               10      and, thus, arbitrary and capricious under the Administrative Procedure Act.

               11             484.    Defendants’ unlawful action has caused, is causing, and will continue to cause

               12      harm to Plaintiffs as alleged above, and there is a substantial likelihood that the requested relief

               13      will redress this harm.

               14                                           PRAYER FOR RELIEF

               15             485.    Plaintiffs respectfully request that this Court:

               16             486.    Declare that Defendants’ promulgation of the Replan, and corresponding

               17      revocation of the COVID-19 Plan is unconstitutional under the Enumeration Clause, and

               18      unlawful under the Administrative Procedure Act.

               19             487.    Vacate the Replan, thereby reinstating the COVID-19 Plan.

               20             488.    Enjoin Defendants from implementing or effectuating the Replan or its

               21      constituent parts and enjoin Defendants from unlawfully interfering with the implementation or

               22      effectuation of the COVID-19 Plan or its constituent parts.

               23             489.    Award Plaintiffs costs, expenses, and reasonable attorneys’ fees.

               24             490.    Award any other relief the Court deems just and proper.

               25

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                   1                                           ATTESTATION
                   2           I, Sadik Huseny, am the ECF user whose user ID and password authorized the filing of this
                   3   document. Under Civil L.R. 5-1(i)(3), I attest that all signatories to this document have concurred
                   4
                       in this filing.
                   5

                   6   Dated: October 27, 2020                          LATHAM & WATKINS LLP

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